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     1              IN THE UNITED STATES DISTRICT COURT
     2               FOR THE NORTHERN DISTRICT OF OHIO
     3                        EASTERN DIVISION
     4                            - - -
     5
           IN RE: NATIONAL             :    MDL NO. 2804
     6     PRESCRIPTION OPIATE         :
           LITIGATION                  :
     7                                 :
           ------------------------------------------------
     8     THIS DOCUMENT RELATES TO    : CASE NO.
           ALL CASES                   : 1:17-MD-2804
     9                                 :
                                       : Hon. Dan A.
   10                                  : Polster
   11                          - - -
   12                      January 31, 2019
   13                          - - -
               HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
   14                   CONFIDENTIALITY REVIEW
   15
   16                    Videotaped deposition of JANET
          GETZEY HART taken pursuant to notice, was held at
   17     the law offices of Morgan, Lewis & Bockius LLP,
          1701 Market Street, Philadelphia, Pennsylvania,
   18     beginning at 9:38 a.m., on the above date, before
          Ann Marie Mitchell, a Federally Approved
   19     Certified Realtime Reporter, Registered Diplomate
          Reporter, Registered Merit Reporter and Notary
   20     Public.
   21                          - - -
   22                 GOLKOW LITIGATION SERVICES
                  877.370.3377 ph | 917.591.5672 fax
   23                      deps@golkow.com
   24

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                                                  Page 2                                              Page 4
    1   APPEARANCES:                                        1 APPEARANCES VIA TELEPHONE AND STREAM:
    2                                                       2
    3     BARON & BUDD, P.C                                 3   BARON & BUDD, P.C.
          BY: MARK PIFKO, ESQUIRE                               BY: GRETCHEN KEARNEY, ESQUIRE
    4     15910 Ventura Boulevard                           4   BY: JAY LICHTER, ESQUIRE
          Suite 1600                                            600 New Hampshire Avenue NW
    5     Encino, California 91436                          5   The Watergate, Suite 10-A
          (818) 839-2333                                        Washington, DC 20037
    6     mpifko@baronbudd.com                              6   (202) 333-4562
    7
          Representing the Plaintiffs                           gkearney@baronbudd.com
    8                                                       7   jlichter@baronbudd.com
                                                                Representing the Plaintiffs
           BARON & BUDD, P.C.                               8
    9      BY: WILLIAM POWERS, ESQUIRE                      9
           600 New Hampshire Avenue NW                          MORGAN, LEWIS & BOCKIUS LLP
   10      The Watergate, Suite 10-A                            BY: JOHN M. MALOY, ESQUIRE
           Washington, DC 20037                            10
                                                                1701 Market Street
   11      (202) 333-4562                                       Philadelphia, Pennsylvania 19103
           wpowers@baronbudd.com                           11
                                                                (215) 963-5000
   12      Representing the Plaintiffs
   13                                                      12   john.maloy@morganlewis.com
   14      MORGAN, LEWIS & BOCKIUS LLP                          Representing Rite Aid
           BY: ELISA P. McENROE, ESQUIRE                   13
   15      BY: MATTHEW R. LADD, ESQUIRE                    14
           1701 Market Street                                   BLASINGAME, BURCH, GARRARD & ASHLEY, P.C.
   16      Philadelphia, Pennsylvania 19103                15   BY: ALEXANDRA K. HUGHES, ESQUIRE
           (215) 963-5000                                       440 College Avenue
   17      elisa.mcenroe@morganlewis.com                   16   Suite 320
           matthew.ladd@morganlewis.com                         Athens, Georgia 30601
   18
   19
           Representing Rite Aid                           17   (706) 744-4135
                                                                ahughes@bbga.com
   20      MORGAN, LEWIS & BOCKIUS LLP                     18
           BY: KELLY A. MOORE, ESQUIRE                     19
   21      101 Park Avenue                                 20
           New York, New York 10178
   22      (212) 309-6000                                  21
           kelly.moore@morganlewis.com                     22
   23
   24
           Representing Rite Aid                           23
                                                           24

                                                  Page 3                                              Page 5
    1   APPEARANCES (cont.'d):                              1 APPEARANCES VIA TELEPHONE AND STREAM (cont.'d):
    2                                                       2
    3     ARNOLD & PORTER KAYE SCHOLER LLP                  3   JACKSON KELLY PLLC
          BY: ELISEO R. PUIG, ESQUIRE                           BY: SYLVIA WINSTON NICHOLS, ESQUIRE
    4     370 Seventeenth Street                            4   150 Clay Street
          Denver, Colorado 80202                                Morgantown, West Virginia 26501
    5     (303) 863-1000                                    5   (304) 284-4105
                                                                sylvia.winston@jacksonkelly.com
          eliseo.puig@apks.com                              6   Representing AmeriSource Bergen Drug
    6     Representing Endo Health Solutions Inc.,              Corporation
          Endo Pharmaceuticals Inc., Par                    7
    7     Pharmaceutical, Inc. and Par Pharmaceutical       8
          Companies, Inc.                                       JONES DAY
    8                                                       9   BY: MIRIAM LIABO, ESQUIRE
    9                                                           77 West Wacker
          PIETRAGALLO GORDON ALFANO BOSICK &               10   Chicago, Illinois 60601
   10     RASPANTI, LLP                                         (312) 782-3939
          BY: ALEXANDER M. OWENS, ESQUIRE                  11   mliabo@jonesday.com
   11     1818 Market Street                                    Representing Walmart
          Suite 3402                                       12
   12     Philadelphia, Pennsylvania 19103                 13
          (215) 320-6200                                        BAILEY & WYANT, PLLC
   13     amo@pietragallo.com                              14   BY: HARRISON M. CYRUS, ESQUIRE
          Representing Cardinal Health                          500 Virginia Street East
   14                                                      15   Suite 600
   15                                                           Charleston, West Virginia 25301
          COVINGTON & BURLING, LLP                         16   (304) 345-4222
                                                                hcyrus@baileywyant.com
   16     BY: KEVIN KELLY, ESQUIRE                         17
          One City Center                                  18   VIDEOGRAPHER:
   17     850 Tenth Street, NW                                    DAVID LANE
          Washington, DC 20001                             19
   18     (202) 662-5272                                        ALSO PRESENT:
          kkelly@cov.com                                   20     DAVID SAYRES
   19     Representing McKesson                                   Precision Trial Solutions
   20                                                      21
   21                                                      22     EMMA KABOLI
   22                                                             Baron & Budd, P.C.
   23                                                      23     (via stream)
   24                                                      24             - - -

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    1              - - -                                 1   Hart-     Email chain, top one dated 224
    2              INDEX                                     30(b)(6)- 2013-08-07, Bates stamped
    3              - - -                                 2   13       Rite_Aid_OMDL_0024599 and
    4                                                               Rite_Aid_OMDL_0024600
                                                         3
    5   Testimony of: JANET GETZEY HART                      Hart-     Handwritten notes,      277
    6   By Mr. Pifko           11, 285                   4   30(b)(6)- 11/23/10, Bates stamped
        By Ms. McEnroe           274                         14       Rite_Aid_OMDL_0046066
    7                                                    5
    8              - - -                                     Hart-     PowerPoint slides, Bates 278
    9             EXHIBITS                               6   30(b)(6)- stamped
   10              - - -                                     15       Rite_Aid_OMDL_0046067
   11                                                    7          through
        NO.           DESCRIPTION             PAGE                  Rite_Aid_OMDL_0046072
   12                                                    8
        Hart-    Second Notice of          14                Hart-     Email dated 2010-12-10,   279
   13   30(b)(6)- Deposition Pursuant to                 9   30(b)(6)- Bates stamped
        1       Rule 30(B)(6) and Document                   16       Rite_Aid_OMDL_0020381 and
   14          Request Pursuant to Rule
                                                        10          Rite_Aid_OMDL_0020381
                                                        11   Hart-     Handwritten notes,      280
               30(B)(2) and Rule 34 to                       30(b)(6)- 12/14/10, Bates stamped
   15          Defendant Rite Aid of                    12   17       Rite_Aid_OMDL_0046065
               Maryland, Inc., d/b/a Rite               13   Hart-     Email dated 2011-01-21,   282
   16          Aid and Mid-Atlantic                          30(b)(6)- Bates stamped
               Customer Support Center,                 14   18       Rite_Aid_OMDL_0020541 and
   17          Inc.                                                 Rite_Aid_OMDL_0020542
   18   Hart-    First Notice of Deposition 18          15
        30(b)(6)- Pursuant to Rule 30(B)(6)             16
   19   2       and Document Request                    17
                                                                        - - -
               Pursuant to Rule 30(B)(2)                18
   20          and Rule 34 to Defendant                          PREVIOUSLY MARKED EXHIBITS USED
               Rite Aid of Maryland,                    19
   21          Inc., d/b/a Rite Aid and                                 - - -
               Mid-Atlantic Customer                    20
   22          Support Center, Inc.                     21            Rite Aid-Hart-15
   23   Hart-    Email chain, top one dated 41          22
        30(b)(6)- 2010-11-24, Bates stamped             23
   24   3       Rite_Aid_OMDL_0046695                   24

                                               Page 7                                                   Page 9
    1   Hart-     Index of Binder           113          1              - - -
        30(b)(6)-                                        2           DEPOSITION SUPPORT INDEX
    2   4
    3   Hart-     Email chain, top one dated 135         3              - - -
        30(b)(6)- 16 Sep 2011, Bates stamped             4
    4   5       MCKMDL00632923 through
    5
               MCKMDL00632925                                    Direction to Witness Not to Answer
                                                         5
        Hart-     Email dated 2011-02-01,       175
    6   30(b)(6)- Bates stamped                                          Page Line
        6       Rite_Aid_OMDL_0013134                    6
    7          through
    8
               Rite_Aid_OMDL_0013136                                      132 19
                                                         7
        Hart-     Press Release entitled     179
    9   30(b)(6)- "Akron Doctor Pleads                   8
        7       Guilty to Illegally                      9
   10          Prescribing Painkillers,
   11   Hart-     Indictment, Case No.:       182                Request for Production of Documents
        30(b)(6)- 5:14CR096
   12   8                                               10
   13   Hart-     Press Release, "Rite Aid     188                       Page Line
        30(b)(6)- Corporation and
   14   9       Subsidiaries Agree to Pay               11
               $5 Million in Civil                      12
   15          Penalties to Resolve
               Violations in Eight States               13
   16          of the Controlled                        14               Stipulations
               Substances Act," 2 pages
   17                                                   15               Page Line
        Hart-     Order of the State Board     197      16
   18   30(b)(6)- of Pharmacy, Docket Number
   19
        10       D-110127-163                           17
                                                        18
        Hart-     Order of the State Board     214
   20   30(b)(6)- of Pharmacy Docket Number             19             Question Marked
   21
        11       D-100621-134                           20              Page Line
        Hart-     Project Initiation for 504 221        21
   22   30(b)(6)- Suspicious Order                      22
        12       Monitoring, Bates stamped
   23          Rite_Aid_OMDL_0040184                    23
               through                                  24
   24          Rite_Aid_OMDL_0040198
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    1            THE VIDEOGRAPHER: We're now on             1         Q. So you understand that you're
    2       the record. My name is David Lane,              2   still under oath? Do you understand that?
    3       videographer from Golkow Litigation             3         A. Yes.
    4       Services. Today's date is January 31,           4         Q. Okay. Yes? Sorry, I spoke over
    5       2019. Our time is 9:38 a.m. This                5   you.
    6       deposition is taking place in                   6         A. Yes, yes.
    7       Philadelphia, Pennsylvania in the matter        7         Q. And we'll fast forward through a
    8       of National Opiate Litigation, MDL.             8   bunch of the ground rules. I know we covered
    9            Our deponent today is Janet                9   that yesterday and had your deposition taken.
   10       Getzey Hart. Counsel will be noted on          10             So you understand that your
   11       the stenographic record. Our court             11   testimony here today is under penalty of perjury.
   12       reporter is Ann Marie Mitchell.                12   Correct?
   13            Ms. Hart, I just want to remind           13             MS. McENROE: Objection to form.
   14       you, you're still under oath.                  14             THE WITNESS: I do.
   15            MR. PIFKO: Can we get people on           15   BY MR. PIFKO:
   16       the phone to just state their name and         16         Q. And you understand that if you're
   17       firm and who they represent real quick?        17   untruthful or intentionally dishonest in some
   18            MS. LIABO: Hi, this is Miriam             18   way, that you could be subject to criminal
   19       Liabo from Jones Day on behalf of              19   penalties or civil penalties or some other sort
   20       Walmart.                                       20   of punishment from the court.
   21            MS. McENROE: Anybody else?                21             Do you understand that?
   22            MS. WATSON: This is Sylvia                22             MS. McENROE: Objection to form.
   23       Watson from Jackson Kelly on behalf of         23             THE WITNESS: I do.
   24       AmeriSource Bergen.                            24   BY MR. PIFKO:
                                                Page 11                                                  Page 13
    1              MR. PIFKO: Anyone else?                  1         Q. Is there any reason why you can't
    2              MR. MALOY: This is John Maloy            2   provide truthful and accurate testimony today?
    3        from Morgan Lewis on behalf of Rite Aid.       3         A. There is not.
    4              MR. PIFKO: Anyone else?                  4         Q. Do you have any medical
    5                  - - -                                5   condition, are you taking any medication or
    6              JANET GETZEY HART, after having          6   undergoing any sort of treatment that would
    7        been previously duly sworn, continued to       7   impact your ability to tell the truth?
    8        be examined and testified as follows:          8         A. No.
    9                  - - -                                9         Q. Are you taking any medication or
   10                EXAMINATION                           10   suffering from any condition that would impact
   11                  - - -                               11   your memory?
   12   BY MR. PIFKO:                                      12         A. No.
   13        Q. All right. Now that we got that            13         Q. From time to time, I'm obviously
   14   out of the way.                                    14   going to be asking you, as you know from
   15              My name is Mark Pifko. We kind          15   yesterday, about past events. Okay? And I don't
   16   of met yesterday a little bit. I'm going to be     16   want you to guess, but I do -- I am entitled to
   17   asking you some questions today. I represent the   17   your best recollection of events. Okay?
   18   plaintiffs in the litigation.                      18         A. Yes.
   19              MR. PIFKO: So -- was she                19         Q. Okay. You intend to provide that
   20        administered the oath?                        20   today?
   21              THE REPORTER: She's still under         21         A. I do.
   22        oath from yesterday.                          22         Q. All right. So one other thing
   23              MR. PIFKO: Okay.                        23   that's different today, we'll get into it in just
   24   BY MR. PIFKO:                                      24   a moment, as opposed to yesterday, is that

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    1   today's deposition, you are providing testimony      1         A. Months ago.
    2   on behalf of the company.                            2         Q. Sometime in the third quarter of
    3              Do you understand that?                   3   last year?
    4         A. I do.                                       4         A. Seems familiar, yes.
    5         Q. Okay. So when I ask you                     5         Q. So you see if you -- there's
    6   questions -- I'm going to hand you a notice in a     6   numbered pages on the bottom.
    7   minute and there's some topics.                      7               If you turn to the page that's
    8              When I ask you questions within           8   numbered 6, it's got "Subject Matters for
    9   those topics, you're going to be providing           9   Testimony," letters A through O.
   10   testimony on behalf of the company, not just you.   10               Do you see that?
   11              Do you understand that?                  11               MS. McENROE: I think you may be
   12         A. I do.                                      12         looking at notice 1 and you may have
   13         Q. All right. Let's start by                  13         handed us notice 2. That may be what's
   14   handing you that document. I'm sure that you saw    14         going on.
   15   it in preparing for today's deposition.             15               The second notice is the one that
   16                 - - -                                 16         you handed us.
   17              (Deposition Exhibit No.                  17               MR. PIFKO: That's Will's fault.
   18         Hart-30(b)(6)-1, Second Notice of             18               We can hand her both of them.
   19         Deposition Pursuant to Rule 30(B)(6) and      19         I'll ask you some questions about that.
   20         Document Request Pursuant to Rule             20               I'll hand you notice 1 in just a
   21         30(B)(2) and Rule 34 to Defendant Rite        21         minute. Thanks for clarifying.
   22         Aid of Maryland, Inc., d/b/a Rite Aid and     22   BY MR. PIFKO:
   23         Mid-Atlantic Customer Support Center,         23         Q. So with respect to notice 2, you
   24         Inc., was marked for identification.)         24   see that there's topics that start on -- well,
                                                 Page 15                                                Page 17
    1                  - - -                                 1   they do the same thing. They start on page 6
    2   BY MR. PIFKO:                                        2   here.
    3         Q. I'm handing you what's marked as            3              Do you see that?
    4   Hart-30(b)(6) Exhibit 1, which is a copy of a        4         A. I do.
    5   deposition notice.                                   5         Q. Okay. And they go through page
    6             Have you seen this before? Take            6   11.
    7   a minute to look at it.                              7              Do you see that?
    8             MS. McENROE: Mark, if it would             8         A. I do.
    9         help, I'm happy to stipulate to which          9         Q. So looking at this -- this is
   10         topics from the second notice --              10   called the second notice.
   11             MR. PIFKO: Yeah, I'm going to             11              Do you understand yourself to be
   12         ask her. I have got your letter in front      12   designated for topics 6, 12, 17, 18, 20, 21 and
   13         of me.                                        13   22?
   14             MS. McENROE: Great. Thank you.            14         A. 6, 12 -- what were the other
   15             THE WITNESS: I'm fine.                    15   numbers?
   16   BY MR. PIFKO:                                       16         Q. 17, 18, 20, 21 and 22.
   17         Q. All right. Have you seen this              17              MS. McENROE: Just preserving for
   18   before?                                             18         the record that 20, 21 and 22 are as
   19         A. I have.                                    19         modified by a ruling from Special Master
   20         Q. When was the last time you saw             20         Cohen.
   21   this?                                               21              THE WITNESS: I do.
   22         A. Within the past few days.                  22   BY MR. PIFKO:
   23         Q. Okay. When was the first time              23         Q. Is there any reason why you can't
   24   you recall seeing this?                             24   provide testimony on those topics today?

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    1        A.    There is not.                            1   would have been around a few months ago, like the
    2        Q.    Let's look at the first notice.          2   other notice, roughly?
    3                - - -                                  3        A. Yes.
    4             (Deposition Exhibit No.                   4        Q. Okay. If you turn to page 6 of
    5        Hart-30(b)(6)-2, First Notice of               5   Exhibit 2, you see there's a bunch of letter
    6        Deposition Pursuant to Rule 30(B)(6) and       6   topics that goes from page 6 to page 7.
    7        Document Request Pursuant to Rule              7             Are you there?
    8        30(B)(2) and Rule 34 to Defendant Rite         8        A. I am.
    9        Aid of Maryland, Inc., d/b/a Rite Aid and      9        Q. Do you understand yourself to be
   10        Mid-Atlantic Customer Support Center,         10   designated to speak on behalf of the company with
   11        Inc., was marked for identification.)         11   respect to topics A through N?
   12                - - -                                 12             Take a minute to look at them.
   13   BY MR. PIFKO:                                      13        A. I do.
   14        Q. Which is marked as Exhibit 2.              14        Q. Is there any reason why you can't
   15             Take a moment to review that and         15   provide testimony on behalf of the company with
   16   let me know when you're done.                      16   respect to topics A through N in Exhibit 2?
   17        A. (Reviewing document.)                      17        A. There is not.
   18             Okay.                                    18        Q. Do you know what diversion is?
   19        Q. Have you seen Exhibit 2 before?            19             MS. McENROE: Objection to form.
   20        A. I have.                                    20             THE WITNESS: I do.
   21        Q. When was the last time you saw             21   BY MR. PIFKO:
   22   Exhibit 2?                                         22        Q. What's your understanding of what
   23        A. Within the past few days.                  23   diversion is?
   24        Q. When was the first time you                24        A. Diversion is any time that a
                                                Page 19                                                  Page 21
    1   believe you saw Exhibit 2?                          1   controlled substance gets out of the normal
    2         A. I don't remember when I first saw          2   channel of controlled substance delivery to a
    3   it.                                                 3   patient, not to the patient based upon a valid
    4         Q. Do you believe it would have been          4   medical intent.
    5   on or around the same time you saw Exhibit 1?       5        Q. Do you understand that Rite Aid
    6         A. A little after. Oh, this one               6   has a duty to prevent diversion?
    7   here is Exhibit 1 that we're talking about now?     7             MS. McENROE: Objection, calls
    8         Q. I'm asking about Exhibit 2.                8        for a legal conclusion.
    9         A. Okay. Exhibit 2 is the first               9             THE WITNESS: I do.
   10   notice, though. Right?                             10   BY MR. PIFKO:
   11         Q. Right.                                    11        Q. Do you understand that during
   12         A. So I would have saw the first             12   certain relevant time periods to this case, Rite
   13   notice before the second notice.                   13   Aid was a, what's called a distributor under the
   14         Q. Okay. That's your recollection,           14   Controlled Substances Act?
   15   is that you saw the first one before you saw the   15        A. I do.
   16   second one?                                        16        Q. What's your understanding of how
   17         A. I believe so.                             17   Rite Aid fit into a definition of a distributor
   18         Q. Just so you know, they're dated           18   under the Controlled Substances Act?
   19   the same day.                                      19             MS. McENROE: Objection to form.
   20             Does that refresh your                   20             THE WITNESS: Rite Aid
   21   recollection at all about when you saw them?       21        distributed its Schedule III, IV and V
   22         A. It does not.                              22        controlled substances to our various Rite
   23         Q. Okay. All right. Well, you see            23        Aid locations.
   24   on page 6 -- well, so you believe, though, it      24   BY MR. PIFKO:

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    1         Q. And Rite Aid purchased those                1         Q. And is that consistent with Rite
    2   products directly from manufacturers?                2   Aid's understanding of why we want to prevent
    3         A. I believe so, yes.                          3   diversion?
    4         Q. And then warehoused them and                4         A. It is.
    5   ultimately shipped them to its stores?               5         Q. I believe -- I was just looking
    6         A. That is correct.                            6   for it, but I couldn't find it, but I believe
    7         Q. And so you understand as a                  7   that's in one of Rite Aid's policy documents.
    8   distributor that Rite Aid had a duty to prevent      8               Do you recall seeing that?
    9   diversion. Correct?                                  9         A. I do.
   10             MS. McENROE: Objection to form.           10         Q. So you agree that that's a stated
   11             THE WITNESS: I do.                        11   policy of Rite Aid, is that they want to prevent
   12   BY MR. PIFKO:                                       12   diversion because they want to protect the public
   13         Q. And do you also have an                    13   health. Correct?
   14   understanding that Rite Aid had a duty to           14               MS. McENROE: Objection to form.
   15   identify, report and halt the shipment of           15               THE WITNESS: I'm not sure if
   16   suspicious orders?                                  16         it's part of a policy or a statement or
   17             MS. McENROE: Objection to form.           17         whatever, but yes.
   18             THE WITNESS: I do.                        18   BY MR. PIFKO:
   19   BY MR. PIFKO:                                       19         Q. All right. You understand that
   20         Q. Okay. And do you know what a               20   Rite Aid has a duty to -- we talked earlier, to
   21   suspicious order is?                                21   identify, report and halt the shipment of any
   22         A. I do.                                      22   suspicious orders that it may find in its system.
   23         Q. What is a suspicious order?                23   Correct?
   24         A. A suspicious order is an unusual           24               MS. McENROE: Objection to form.
                                                 Page 23                                                  Page 25
    1   frequency, an unusual pattern, orders of that        1             THE WITNESS: I do.
    2   nature.                                              2   BY MR. PIFKO:
    3         Q. Bear with me a second here.                 3        Q. And did you also understand that
    4             Do you understand the purpose for          4   Rite Aid has a duty to design a system to
    5   which Rite Aid, as a registrant under the            5   identify suspicious orders. Correct?
    6   Controlled Substances Act, has a duty to prevent     6             MS. McENROE: Objection to form.
    7   diversion?                                           7        And Mark, this is pretty heavily on the
    8             MS. McENROE: Objection to form.            8        legal interpretation end, from which
    9             THE WITNESS: I do.                         9        Special Master Cohen specifically ruled
   10   BY MR. PIFKO:                                       10        the topics do not cover, despite how
   11         Q. What's your understanding of what          11        they're drafted. So I just wanted to
   12   that purpose is?                                    12        make sure that we don't go too far down
   13         A. Our purpose is to make sure the            13        that road.
   14   controlled substances are kept in the normal        14             THE WITNESS: Could you repeat
   15   channel of distribution and dispensing to the end   15        the question?
   16   patient, make sure that it does not end in the      16   BY MR. PIFKO:
   17   hands of any other one that's not in that           17        Q. Yeah.
   18   distribution channel.                               18             I was just asking, you understand
   19         Q. Do you understand that one of the          19   that Rite Aid has a duty to design and maintain a
   20   purposes of preventing diversion is to protect      20   system to identify and report suspicious orders.
   21   the public health?                                  21   Correct?
   22             MS. McENROE: Objection to form.           22             MS. McENROE: Objection to form.
   23             THE WITNESS: I do.                        23             THE WITNESS: I do.
   24   BY MR. PIFKO:                                       24   BY MR. PIFKO:

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    1         Q. Did Rite Aid have such a system?           1        the question?
    2         A. We did.                                    2   BY MR. PIFKO:
    3         Q. When did Rite Aid first design a           3        Q. Yeah.
    4   system to identify and report and halt the          4             Do you believe that there's never
    5   shipment of suspicious orders?                      5   been a suspicious order that has occurred within
    6         A. I came into the Rite Aid                   6   Rite Aid's distribution center -- system?
    7   corporate office in 1995. And at that point         7             MS. McENROE: Objection to form.
    8   there was a program to report suspicious orders.    8             THE WITNESS: I do.
    9         Q. How about a program to identify            9   BY MR. PIFKO:
   10   suspicious orders?                                 10        Q. So it's your testimony that
   11         A. I think same time.                        11   there's never been a suspicious order that's
   12         Q. Do you know anything about who            12   occurred within Rite Aid's distribution of
   13   designed the system that you're describing to      13   Schedule III controlled substances?
   14   identify and report suspicious orders?             14             MS. McENROE: Objection to form.
   15         A. I do not.                                 15             THE WITNESS: I do.
   16         Q. Okay. But it's your testimony             16   BY MR. PIFKO:
   17   that that system was in place in 1995?             17        Q. Are you familiar with the
   18         A. Yes.                                      18   scheduling of controlled substances?
   19         Q. Were there any changes to that            19        A. I am.
   20   system? You've been employed by, we discussed      20        Q. Are you aware of -- that there's
   21   yesterday, by Rite Aid since the '80s; is that     21   Schedule I through VI?
   22   correct?                                           22        A. Schedule I through V.
   23              MS. McENROE: Objection to form.         23        Q. I'm sorry, I through V, yes.
   24              THE WITNESS: Yes.                       24        A. Yes.
                                                Page 27                                                 Page 29
    1             MS. McENROE: It's okay. Give me           1       Q.     Okay. Keeping you on your toes.
    2        time to get my objections in.                  2             Do you have an understanding
    3   BY MR. PIFKO:                                       3   about what the differences are as you move along
    4        Q. So you're familiar with Rite                4   the schedules?
    5   Aid's policies and procedures with respect to       5        A. I do.
    6   suspicious orders and preventing diversion.         6             MS. McENROE: Objection to form.
    7   Correct?                                            7   BY MR. PIFKO:
    8        A. Yes.                                        8        Q. From I to V?
    9        Q. And are you familiar with whether           9             MS. McENROE: Objection to form.
   10   there are any changes to Rite Aid's system to      10             THE WITNESS: I do.
   11   identify and report suspicious orders from 1995    11   BY MR. PIFKO:
   12   to present?                                        12        Q. What is your understanding of the
   13        A. I believe that the system itself           13   difference between a Schedule I controlled
   14   has been in place. There has been minor changes    14   substance and a Schedule V controlled substance?
   15   or tweaks along the way, but the basics of the     15             MS. McENROE: Just real quick, I
   16   system have remained the same.                     16        want to make sure I understand.
   17        Q. To your knowledge, has Rite Aid            17             Which topic is this part of?
   18   ever identified a suspicious order?                18             MR. PIFKO: I'm asking the
   19        A. We have not.                               19        questions. I don't need to identify the
   20        Q. Do you believe that there's never          20        topics.
   21   been a suspicious order that's occurred within     21             MS. McENROE: I understand. So
   22   Rite Aid's distribution system?                    22        you're asking topics from a 30(b)(6)
   23             MS. McENROE: Objection to form.          23        witness designated for specific
   24             THE WITNESS: Could you repeat            24        testimony.

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    1            MR. PIFKO: You can object to               1   less potential for that, yes.
    2       scope, but I'm going to ask the                 2         Q. And Rite Aid was a distributor of
    3       questions.                                      3   Schedule III controlled substances. Correct?
    4            MS. McENROE: I can object to               4              MS. McENROE: Objection to form.
    5       scope. I'm just trying to understand            5              THE WITNESS: We were.
    6       where you're going with this, so --             6   BY MR. PIFKO:
    7            MR. PIFKO: I'm asking her                  7         Q. But you also sold Schedule II
    8       questions.                                      8   controlled substances. Correct?
    9            MS. McENROE: -- if you're just             9              MS. McENROE: Objection to form.
   10       laying the basis for something in scope,       10              I just want to make sure we are
   11       then that's fine, Mark. But I just want        11         clear in which "you" we are using here.
   12       to make sure that we're not going to           12         So she is here testifying as a 30(b)(6)
   13       spend all day, she's a talented                13         witness for Rite Aid Maryland, Inc.,
   14       pharmacist with a lot of experience,           14         doing business as Mid-Atlantic Customer
   15       getting every dot of the Controlled            15         Support Center, which is the Perryman
   16       Substances Act, make sure that we're           16         Distribution Center. So I just want to
   17       staying within the nature of the topics.       17         make sure the witness is not going to be
   18            So that all being said, I will            18         getting confused or misled that it's her
   19       say objection to scope.                        19         personally or the Rite Aid family of
   20   BY MR. PIFKO:                                      20         companies.
   21       Q. All right. So let's go back to              21   BY MR. PIFKO:
   22   my question.                                       22         Q. You understand that Rite Aid
   23            Do you understand the difference          23   Corporation operates pharmacies, correct, through
   24   between a Schedule I substance and a Schedule V    24   its various subsidiaries?
                                                Page 31                                                  Page 33
    1   substance?                                          1         A. I do.
    2               MS. McENROE: Objection to form.         2         Q. And those pharmacies sell
    3               THE WITNESS: I do.                      3   Schedule II substances. Correct?
    4   BY MR. PIFKO:                                       4         A. Those pharmacies dispense
    5         Q. What is your understanding of the          5   Schedule II controlled substances.
    6   difference between those substances, as you move    6         Q. And they also sell Schedule III
    7   through the scale?                                  7   substances. Correct?
    8         A. Schedule I has an abusive -- has           8         A. Yes.
    9   the most abusive properties. They are typically     9         Q. So we talked about the system for
   10   the illicit drugs. Schedule V is the least         10   identifying, reporting and halting the shipments
   11   addictive, and they are the products that may be   11   of suspicious orders.
   12   able to be sold over the counter.                  12             You said that there was a system
   13         Q. And so as you moved down the              13   in place in 1995. Correct?
   14   scale, there's -- all these substances have been   14         A. Yes.
   15   identified by the government as having a           15         Q. And then I asked you if there
   16   potential for abuse. Correct?                      16   were changes over the years. And you said there
   17               MS. McENROE: Objection to form.        17   might have been some little changes, but the
   18               THE WITNESS: Abuse, addiction,         18   basic functions of the system have been the same;
   19         yes.                                         19   is that correct?
   20   BY MR. PIFKO:                                      20         A. That is correct.
   21         Q. And as you move down the scale,           21         Q. All right. So can you tell me
   22   there's a lower potential for abuse and            22   what are the basic functions or features of the
   23   addiction; is that correct?                        23   Rite Aid system to identify, report and halt the
   24         A. As you go to Schedule V, there is         24   shipment of suspicious orders?

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    1              MS. McENROE: Objection to form.           1   report and halt the shipment of suspicious
    2              THE WITNESS: I can.                       2   orders?
    3   BY MR. PIFKO:                                        3             MS. McENROE: Objection to form.
    4         Q. All right. Let's start with the             4             Yeah. We're here giving 30(b)(6)
    5   first element of Rite Aid's system.                  5        testimony on behalf of the distribution
    6              And let's talk about what was in          6        center that I mentioned earlier. You
    7   place in 1995, and then we'll move through and       7        know, in terms of -- that distribution
    8   talk about any potential changes. Okay?              8        center wasn't even in existence in 1997,
    9              MS. McENROE: Objection in terms           9        Mark. So I'm worried that we're really
   10         of scope of the time period. Discovery        10        going far afield here on a number of
   11         starts in this case in 2006 for the           11        different avenues.
   12         relevant purposes. So I know the witness      12   BY MR. PIFKO:
   13         said that she started in this role in         13        Q. Can you answer the question?
   14         1995, but I just want to make sure we         14             MS. McENROE: Objection on
   15         don't end up spending all day on portions     15        multiple grounds.
   16         of discovery that are not even within         16             THE WITNESS: I can.
   17         scope.                                        17   BY MR. PIFKO:
   18   BY MR. PIFKO:                                       18        Q. Okay. So let's start.
   19         Q. Do you recall my question?                 19             What was the first feature of the
   20         A. Please repeat it.                          20   system?
   21         Q. All right.                                 21        A. The Rite Aid suspicious order
   22              MR. PIFKO: Do you recall Special         22   monitoring program had various features to it.
   23         Master Cohen ordered objections to stay       23   One of the features was a threshold quantity of
   24         under 10 seconds, so let's try to             24   5,000 dosage units for any single NDC, National
                                                 Page 35                                                 Page 37
    1         remember that rule.                            1   Drug Code, product per order.
    2              MS. McENROE: I talk real fast.            2         Q. Do you know how that threshold
    3         I think it was under 10 seconds.               3   was calculated?
    4              MR. PIFKO: All right.                     4         A. As far as how was it established?
    5   BY MR. PIFKO:                                        5         Q. Right.
    6         Q. What I asked you was to identify            6         A. I do not know.
    7   the features of Rite Aid's system to identify,       7         Q. Do you know why 5,000 was picked?
    8   report and halt the shipment of suspicious           8         A. I do not know.
    9   orders. Okay?                                        9         Q. Throughout the entirety of your
   10         A. Okay.                                      10   knowledge, that threshold was the same. Correct?
   11         Q. And what we talked about is you            11         A. That threshold remained the same
   12   said you're familiar with the system that was in    12   until we stopped distributing controlled
   13   place from 1995 until present. Correct?             13   substances in 2014.
   14         A. Correct.                                   14         Q. So from 1995 to 2014, the
   15         Q. Okay. And so what I want you to            15   threshold was always 5,000 dosage units per NDC?
   16   do is start with the features of the system that    16              MS. McENROE: Objection to form.
   17   you're familiar with from the earliest time frame   17   BY MR. PIFKO:
   18   from which you're familiar, which you said was      18         Q. Per week? Per order? Sorry.
   19   1995. Correct?                                      19         A. That is correct.
   20         A. Correct.                                   20         Q. And what was the same threshold
   21         Q. And then we'll go through various          21   at all stores, with a handful of exceptions.
   22   changes that may have occurred over the years.      22   Correct?
   23              So let's start in 1995, what's           23              MS. McENROE: Objection to form.
   24   the first step in Rite Aid's system to identify,    24              THE WITNESS: That is correct.

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    1   BY MR. PIFKO:                                            1        A. I don't recall being a part of
    2         Q. Do you know approximately how                   2   those discussions.
    3   many stores had exceptions to that threshold?            3        Q. Do you know what the nature of
    4         A. My guess would be less than a                   4   those discussions were with the logistics team to
    5   dozen.                                                   5   change those numbers?
    6         Q. Can you name them?                              6             MS. McENROE: Objection to form.
    7         A. I can name a few. Rite Aid 777.                 7             THE WITNESS: I do not.
    8   I believe Rite Aid number 408. Those are the two         8   BY MR. PIFKO:
    9   that I remember.                                         9        Q. Do you know why they were having
   10         Q. Do you know where those are                    10   such discussions?
   11   located? How about 777, where is that located?          11             MS. McENROE: Objection to form.
   12         A. It was located in New Jersey.                  12             THE WITNESS: I think part of it
   13         Q. How about 408?                                 13        always to look at the program and
   14         A. I don't know where that one is                 14        determine if it's adequate or not.
   15   located.                                                15   BY MR. PIFKO:
   16         Q. You can't recall any others?                   16        Q. And was at some point someone was
   17         A. There were others with                         17   concerned that it wasn't adequate?
   18   exceptions. I believe yesterday we discussed            18             MS. McENROE: Objection to form.
   19   3151.                                                   19             THE WITNESS: No. I did not say
   20         Q. Do you know where that store is                20        that. I said they were looking at it to
   21   located?                                                21        continue to make sure that it was
   22         A. Ohio.                                          22        adequate.
   23         Q. Do you know where in Ohio?                     23                 - - -
   24         A. I believe Akron.                               24             (Deposition Exhibit No.
                                                      Page 39                                                 Page 41
    1        Q. Any others?                                      1         Hart-30(b)(6)-3, Email chain, top one
    2        A. Those are the ones that I                        2         dated 2010-11-24, Bates stamped
    3   remember.                                                3         Rite_Aid_OMDL_0046695, was marked for
    4        Q. So that's a feature of Rite Aid's                4         identification.)
    5   suspicious order monitoring system. And that             5                  - - -
    6   feature has been the same over the entirety of           6   BY MR. PIFKO:
    7   your knowledge up to and including 2014, when you        7         Q. I'm handing you what's marked as
    8   stopped distributing Schedule III controlled             8   Exhibit 3.
    9   substances. Correct?                                     9             For the record, Exhibit 3 is a
   10             MS. McENROE: Objection to the                 10   single page document Bates labeled
   11        form.                                              11   Rite_Aid_OMDL_0046695.
   12             THE WITNESS: To the best of my                12             Let me know -- take a minute to
   13        knowledge, yes.                                    13   review that and let me know when you're done.
   14   BY MR. PIFKO:                                           14         A. (Reviewing document.)
   15        Q. Were there ever any discussions                 15         Q. Are you ready?
   16   about changing that number?                             16         A. I'm ready.
   17             MS. McENROE: Objection to form.               17         Q. Have you seen this before?
   18             THE WITNESS: I don't recall any               18         A. I have.
   19        discussions. There may have been                   19         Q. When was the last time you saw
   20        discussions within the logistics team to           20   this?
   21        change the number.                                 21         A. Within the past few days.
   22   BY MR. PIFKO:                                           22         Q. Is this something you reviewed in
   23        Q. Were you part of any of those                   23   preparing for your 30(b)(6) deposition?
   24   discussions?                                            24         A. Yes.

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    1        Q. In preparing for the 30(b)(6)
    2   deposition, did you discuss this document with
    3   anyone from the company?
    4        A. From Rite Aid?
    5        Q. Yes.
    6        A. I did not.
    7        Q. Who is Owen McMahon?
    8        A. Owen, at this time, was our
    9   senior director of generic purchasing and
   10   specialty programs.
   11        Q. Is he still with the company?
   12        A. He is.
   13        Q. What's his current role?
   14        A. Vice president of pharmacy
   15   purchasing in some capacity.




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                                                         1   fill quantities of prescriptions that have been
                                                         2   stolen, do you believe that order could be
                                                         3   suspicious?
                                                         4               MS. McENROE: Objection to form.
                                                         5               THE WITNESS: Can you repeat the
                                                         6         question?
                                                         7   BY MR. PIFKO:
                                                         8         Q. Yeah.
                                                         9               If a store has a certain amount
                                                        10   of inventory of controlled substances, and for
                                                        11   purposes of this discussion let's keep it
                                                        12   Schedule III controlled substances. Okay?
                                                        13               So if a store has a material
                                                        14   volume of Schedule III controlled substances
                                                        15   stolen and it needs to place an order to
                                                        16   replenish that inventory as a result of the
                                                        17   theft, do you believe that that could be a
                                                        18   suspicious order?
                                                        19               MS. McENROE: Objection to form.
                                                        20               THE WITNESS: I do not believe
                                                        21         it's a suspicious order. If you are --
                                                        22         theft and diversion in a store does not
                                                        23         impact a suspicious order, per se.
                                                        24   BY MR. PIFKO:
                                              Page 51                                                 Page 53
                                                         1         Q. Do you believe that if the
                                                         2   quantities of Schedule III controlled substances
                                                         3   that are ordered are increased because theft is
                                                         4   occurring at the store, that that could be a
                                                         5   suspicious order?
                                                         6              MS. McENROE: Objection, form.
                                                         7              THE WITNESS: It could not be --
                                                         8         excuse me -- a suspicious order to the
                                                         9         distribution center in simply ordering
                                                        10         the product. The distribution center
                                                        11         does not know the nature of what is going
                                                        12         to happen to those drugs.
                                                        13   BY MR. PIFKO:
                                                        14         Q. Do you believe that the
                                                        15   distribution center and the company has a duty to
                                                        16   know that the theft is occurring and factor that
                                                        17   into their shipping of orders?
                                                        18              MS. McENROE: Objection to form.
                                                        19              THE WITNESS: Can you repeat the
                                                        20         question? I'm sorry.
                                                        21   BY MR. PIFKO:
                                                        22         Q. Yeah.
   23   BY MR. PIFKO:                                   23              Do you believe that the
   24      Q. If an order is placed in order to         24   distribution center and Rite Aid in general have

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    1   a duty to know that the theft is occurring and     1         flags are, yes.
    2   factor that into their evaluation of whether       2   BY MR. PIFKO:
    3   they're shipping orders to a specific store?       3         Q. What's your understanding of what
    4              MS. McENROE: Objection to form.         4   red flags of diversion are?
    5              THE WITNESS: I believe Rite Aid         5               MS. McENROE: Objection to form.
    6         has a duty, from a pharmacy registrant       6               THE WITNESS: Red flags are
    7         perspective, to identify theft and           7         identified by the Drug Enforcement
    8         diversion and to follow DEA protocol and     8         Administration for a pharmacist when
    9         report it.                                   9         dispensing a controlled substance
   10              From the distribution side,            10         prescription. There are numerous red
   11         there -- just because simply a store has    11         flags. They include, does the pharmacist
   12         diversion of an associate does not mean     12         know the patient, is it a known patient.
   13         that an order would be suspicious.          13         They include, does the pharmacist know
   14   BY MR. PIFKO:                                     14         the prescriber, is it a known prescriber.
   15         Q. Have you heard the term "know            15         They include a valid patient relationship
   16   your customer"?                                   16         between the prescriber and the patient.
   17         A. I have.                                  17         It also requires you to check to
   18         Q. What's your understanding of what        18         determine, from a red flag standpoint, is
   19   that teams?                                       19         it in the geographic area. They
   20              MS. McENROE: Objection, form.          20         require -- a red flag can be to look at a
   21              THE WITNESS: Know your customer        21         prescription to determine if it was a
   22         is that you identify everyone that you      22         forged prescription or not, to determine
   23         ship to. In the course of Rite Aid, our     23         if perhaps another pharmacy had declined
   24         customers are ourselves. To know your       24         to fill and had noted on the
                                                Page 55                                                 Page 57
    1         customer, you should make sure that their    1         prescription. Red flag would be to make
    2         licenses are correct. You should make        2         sure that the prescription was issued for
    3         sure that they have a physical building      3         a valid medical reason by a prescriber in
    4         that is licensed by the Board of             4         the course of their due diligence and
    5         Pharmacy. You should make sure that they     5         their specialty.
    6         have a DEA registration. Knowing your        6   BY MR. PIFKO:
    7         customer is making sure that they are        7         Q. Did Rite Aid ever consider any
    8         registered, that they are a pharmacy, and    8   red flags of diversion with respect to whether it
    9         they are entitled to be able to receive      9   was going to fill an order placed by any of its
   10         and dispense controlled substances.         10   pharmacies for a Schedule III controlled
   11              In Rite Aid's case, our customer       11   substance?
   12         is ourselves. So from a licensing           12              MS. McENROE: Objection to form.
   13         perspective, the licensing coordinator is   13              THE WITNESS: Rite Aid and all of
   14         in our corporate office. And so we know     14         our pharmacies identify red flags. If a
   15         the stores are licensed. We know the        15         red flag is identified, the prescription
   16         whole process.                              16         is not filled at that particular time and
   17   BY MR. PIFKO:                                     17         declined and provided back to the
   18         Q. This question came up yesterday,         18         patient. Should that be -- should there
   19   so I know you know the answer, but I'll ask you   19         be a red flag that meets our criteria, it
   20   for purposes of the 30(b)(6).                     20         would not be dispensed.
   21              Do you know what red flags of          21   BY MR. PIFKO:
   22   diversion are?                                    22         Q. Do you believe that theft is one
   23              MS. McENROE: Objection to form.        23   of the red flags of diversion?
   24              THE WITNESS: I know what red           24              MS. McENROE: Objection to form.

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    1             THE WITNESS: Theft is not a red            1           MS. McENROE: Objection to form.
    2        flag of the prescription processing.            2           THE WITNESS: I would never say
    3        Part of theft is diversion, yes, but            3      in every instance.
    4        involved in the red flag process, it's          4   BY MR. PIFKO:
    5        not diversion as such in a red flag             5      Q. Okay. In most instances?
    6        process.                                        6      A. In the majority, yes.
    7   BY MR. PIFKO:                                        7           MS. McENROE: Objection to form.
    8        Q. When I asked you about "know your            8           Mark, we've been going about an
    9   customer," do you believe that the                   9      hour.
   10   know-your-customer requirement includes a           10           Are you looking for a break, too?
   11   requirement to know about whether the red flags     11           THE WITNESS: (Witness nods
   12   of diversion are occurring at your customer's       12      head.)
   13   location?                                           13           MS. McENROE: Okay. The witness
   14             MS. McENROE: Objection to form.           14      is asking for a break, too.
   15             THE WITNESS: I believe know your          15           MR. PIFKO: Okay.
   16        customer, yes, would include if the            16           THE VIDEOGRAPHER: Going off the
   17        pharmacies are following the red flags         17      record at 10:27 a.m.
   18        process.                                       18               - - -
   19   BY MR. PIFKO:                                       19           (A recess was taken from
   20        Q. Okay. And so with respect to                20      10:27 a.m. to 10:41 a.m.)
   21   Rite Aid's duty to prevent diversion and to         21               - - -
   22   identify suspicious orders, did Rite Aid have any   22           THE VIDEOGRAPHER: We're back on
   23   system in place to consider red flags of            23      the record at 10:41 a.m.
   24   diversion when an order was placed at any of its    24   BY MR. PIFKO:
                                                 Page 59                                                 Page 61
    1   pharmacies?                                          1        Q.    Welcome back.
    2             MS. McENROE: Objection to form.            2             Okay. Before we took a break, we
    3             THE WITNESS: If red flags were             3   were talking about red flags of diversion and
    4        identified when a prescription was being        4   knowing your customer. Okay?
    5        dispensed, the prescription would not be        5        A. Yes.
    6        dispensed. So that would not result in          6        Q. Do you remember that?
    7        an order to the distribution center.            7             So I was asking you if there was
    8   BY MR. PIFKO:                                        8   a way that Rite Aid factors in the red flags of
    9        Q. So it's your testimony that in               9   diversion into a suspicious order that could be
   10   every instance throughout the relevant time         10   placed -- or, sorry, an order that could be
   11   period, if a red flag occurred, it was always       11   placed.
   12   caught and observed at the pharmacy and never       12             MS. McENROE: Objection to form.
   13   resulted in a prescription being dispensed?         13   BY MR. PIFKO:
   14             MS. McENROE: Objection to form.           14        Q. Do you recall that discussion?
   15             THE WITNESS: Can you repeat               15        A. Yes.
   16        that, please?                                  16        Q. Okay. And am I correct that your
   17   BY MR. PIFKO:                                       17   testimony was that Rite Aid factors in red flags
   18        Q. Yes.                                        18   of diversion into its order system because the
   19             So my question is, it's your              19   pharmacist would identify that and that
   20   testimony that is it -- are you saying that in      20   prescription would never be filled; is that
   21   every instance throughout the relevant time         21   correct?
   22   period, if a red flag occurred, it was always       22             MS. McENROE: Objection to form.
   23   caught and observed at the pharmacy, and that       23             THE WITNESS: Could you do that
   24   prescription was never dispensed?                   24        again, please?

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    1   BY MR. PIFKO:                                       1        prescription presented with red flags,
    2         Q. Yep.                                       2        yes.
    3              My question is -- well, why don't        3   BY MR. PIFKO:
    4   you just tell me. How does Rite Aid factor red      4        Q. And you agree that that's not
    5   flags of diversion into an order for a Schedule     5   always caught by a pharmacist. Correct?
    6   III controlled substance?                           6             MS. McENROE: Objection to form.
    7              MS. McENROE: Objection to form.          7             THE WITNESS: The majority of the
    8              THE WITNESS: If there was a red          8        time it would be caught. But, yes, there
    9         flag that was identified for a                9        are instances where a red flag is not
   10         prescription in a pharmacy, the              10        caught or red flags are not caught.
   11         pharmacist has the ability to assess that    11   BY MR. PIFKO:
   12         prescription and determine if their          12        Q. So my question is, in these
   13         prescription should be filled or not.        13   instances where red flags are not caught, is
   14         Simply because there's one red flag          14   there any system in place where Rite Aid takes
   15         doesn't mean that the prescription should    15   those red flags into account when considering
   16         not be filled.                               16   whether to ship an order to one of its
   17              That being said, if there's a red       17   pharmacies?
   18         flag and the prescription is not filled,     18             MS. McENROE: Objection to form.
   19         and the pharmacist refuses to fill it,       19             THE WITNESS: There is not.
   20         there's no way that that's ever going to     20   BY MR. PIFKO:
   21         get to be an order to go to the              21        Q. Does Rite Aid have any system in
   22         distribution center, because at that         22   place to evaluate whether prescriptions are being
   23         point, there's no dispensing of the drug.    23   placed without legitimate medical need at its
   24         There's no need for replenishment from       24   pharmacies when it's filling an order of Schedule
                                                Page 63                                                  Page 65
    1         the distribution center.                      1   III controlled substances for that pharmacy?
    2   BY MR. PIFKO:                                       2              MS. McENROE: Objection to form.
    3         Q. Is it your testimony that red              3              THE WITNESS: The red flags
    4   flags of diversion are always caught and stopped    4         process is in place in Rite Aid
    5   by pharmacists before a prescription is filled?     5         pharmacies to identify fraudulent
    6              MS. McENROE: Objection to form.          6         activity or activity related to a
    7              THE WITNESS: Not all red flags           7         prescription to identify the red flags on
    8         are caught before diversion occurs or         8         a prescription for controlled substances.
    9         before they're filled.                        9   BY MR. PIFKO:
   10   BY MR. PIFKO:                                      10         Q. The only process in place is at
   11         Q. So there are occasions when an            11   the pharmacy through the pharmacist; is that
   12   order is placed from a pharmacy where a            12   correct?
   13   prescription has been filled even though there     13              MS. McENROE: Objection to form.
   14   were red flags; is that correct?                   14              THE WITNESS: When dispensing a
   15              MS. McENROE: Objection to form.         15         prescription, the pharmacist is the front
   16              THE WITNESS: Can you repeat,            16         line. And yes, they're a licensed
   17         please?                                      17         individual that's trained and schooled to
   18   BY MR. PIFKO:                                      18         be able to identify red flags. So yes,
   19         Q. You agree that there are                  19         the red flags and the prescription is
   20   instances where a prescription is placed to be     20         identified by the pharmacist. It has
   21   filled at a Rite Aid pharmacy that may have        21         nothing to do with the distribution
   22   indicia of red flags. Correct?                     22         center.
   23              MS. McENROE: Objection to form.         23   BY MR. PIFKO:
   24              THE WITNESS: There could be a           24         Q. All I'm trying to understand, is

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    1   there any way that that kind of information is      1   BY MR. PIFKO:
    2   passed on to the distribution center.               2         Q. So from the entirety of its
    3             So is your testimony that                 3   operation, that was the threshold when Rite Aid
    4   potential red flag activity at a store location     4   was shipping Schedule III controlled substances
    5   is never passed on to the distribution center?      5   as a distributor. Correct?
    6             MS. McENROE: Objection to form.           6              MS. McENROE: Objection to form.
    7             THE WITNESS: To the best of my            7              THE WITNESS: Correct.
    8        knowledge, the red flag activity is not        8   BY MR. PIFKO:
    9        passed on to the distribution center back      9         Q. And we talked about a meeting,
   10        when we distributed controlled substances     10   when I showed you Exhibit 3, discussing the
   11        up till 2014.                                 11   thresholds. Correct?
   12   BY MR. PIFKO:                                      12         A. We discussed a meeting.
   13        Q. And there's no -- that means that          13         Q. So you -- we talked about the
   14   there was no system in place to consider red       14   people who are present at the meeting, and you
   15   flags of diversion at the distribution center      15   said that Andy Palmer was there because he had
   16   when an order was being shipped. Correct?          16   the asset protection program. Correct?
   17             MS. McENROE: Objection to form.          17         A. That is correct.
   18             THE WITNESS: That is correct.            18         Q. And you clarified that NaviScript
   19        The red flags are determined by the           19   is never used to identify or report a suspicious
   20        pharmacist that is in the pharmacy in         20   order. Correct?
   21        whether or not to dispense the                21              MS. McENROE: Objection to form.
   22        prescription.                                 22              THE WITNESS: That is correct.
   23   BY MR. PIFKO:                                      23   BY MR. PIFKO:
   24        Q. Let's go back to the thresholds.           24         Q. All right. And so Maggie Perritt
                                                Page 67                                                  Page 69
    1              Remember we were talking about           1   was another person who was there from operations.
    2   attributes of Rite Aid's system to identify,        2   Correct?
    3   report and halt suspicious orders.                  3        A. Yes.
    4              MS. McENROE: Objection to form.          4        Q. And you invited her to that
    5   BY MR. PIFKO:                                       5   meeting?
    6         Q. You recall us discussing that?             6        A. I don't remember who invited
    7         A. I do.                                      7   whom, but yes, she was at the meeting.
    8         Q. Okay. So it was your testimony             8        Q. Why was she invited to the
    9   that thresholds are one attribute of the system.    9   meeting?
   10   Correct?                                           10        A. Maggie was the pharmacy
   11         A. That is correct.                          11   operations person at the meeting that knew
   12         Q. And other than a -- less than a           12   algorithms, and also was the operator there that
   13   dozen, all store locations had a threshold of      13   would be impacted by thresholds.
   14   5,000 dosage units per NDC per order. Correct?     14        Q. When you say she would be
   15              MS. McENROE: Objection.                 15   impacted by thresholds, what do you mean?
   16              THE WITNESS: Correct.                   16        A. The service to the stores and the
   17   BY MR. PIFKO:                                      17   pharmacies obtaining their drugs. Pharmacy
   18         Q. And that was a threshold that was         18   operations obviously is in charge of who -- the
   19   in place for multiple decades. Correct?            19   pharmacists that are dispensing the drugs and the
   20              MS. McENROE: Objection to form.         20   operating of the pharmacies.
   21              THE WITNESS: Yes. Keep in mind          21        Q. So if there was a change in the
   22         for this, the Perryman Distribution          22   threshold, it would impact the pharmacy
   23         Center did not open until I believe 1998     23   operations?
   24         or somewhere in that time frame.             24            MS. McENROE: Objection to form.

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    1             THE WITNESS: It could. It                     1   to a government agency, such as the DEA,
    2         could.                                            2   concerning the algorithms that may have been
    3   BY MR. PIFKO:                                           3   used?
    4         Q. How would it impact the pharmacy               4              MS. McENROE: Objection to form.
    5   operations?                                             5              THE WITNESS: I believe the
    6         A. It may impact their ordering. It               6         distribution centers had information as
    7   may impact the amount of product that they would        7         far as obtaining the orders and the
    8   have on their shelves. There could be any number        8         thresholds and part of their suspicious
    9   of ways that it could be impacted.                      9         order program, but they did not know the
   10         Q. Was that part of the discussion               10         detail of the algorithms to the effect of
   11   at this meeting?                                       11         what was included and how the algorithms
   12         A. At this meeting -- I don't                    12         work. There's numerous algorithms that
   13   recall.                                                13         come together. And they did not have all
   14         Q. Do you recall discussing -- you               14         of that, no.
   15   said Maggie had some knowledge about algorithms;       15              They had a document to provide to
   16   is that correct?                                       16         the DEA. They really did provide -- that
   17         A. That is correct.                              17         was sufficient for DEA inspections 2005,
   18         Q. Do you recall a specific                      18         2009, prior to this meeting. So the
   19   discussion with Maggie about algorithms and            19         documentation on suspicious order
   20   suspicious order monitoring at this meeting?           20         monitoring was at the distribution center
   21         A. I recall what occurred at the                 21         and adequate for the DEA.
   22   meeting was that we were trying to put down in         22   BY MR. PIFKO:
   23   detail the algorithms that were used in our            23         Q. There's a document that was
   24   suspicious order monitoring program so that we         24   created in 2005?
                                                    Page 71                                                  Page 73
    1   could communicate it effectively to our                 1         A. There was a DEA inspection in
    2   distribution centers on a one-page document so          2   2005 at the distribution center. And as part of
    3   that the DC would have something to present to          3   their standard operating procedures in suspicious
    4   government agency, the Drug Enforcement                 4   order monitoring program, the distribution center
    5   Administration, that would visit and do an              5   at that time had passed inspection.
    6   inspection.                                             6         Q. There was another inspection in
    7         Q. So prior -- and this meeting                   7   2009?
    8   occurred, if we look back at Exhibit 3, the email       8         A. There was another inspection in
    9   is at the end of 2010. Agree?                           9   2009.
   10         A. Yes.                                          10         Q. Which specific facility are we
   11         Q. Do you have a recollection about              11   talking about with respect to the 2005 and 2009
   12   when this meeting occurred after that email?           12   inspections?
   13         A. Maybe early 2011. I don't                     13         A. We are speaking of the Perryman
   14   recall.                                                14   Distribution Center.
   15         Q. That's your best estimate, is                 15         Q. You're opening a binder.
   16   early 2011 when this meeting occurred?                 16              Can you tell me what that is?
   17         A. Best estimate, yes. I don't -- I              17         A. Sure. It's a binder of documents
   18   don't recall truly.                                    18   that I asked counsel to prepare for me to review
   19         Q. You said that you wanted to put               19   for the deposition.
   20   detail down concerning the algorithms so that you      20         Q. And you're looking for something
   21   could communicate them to the distribution             21   specific in there right now?
   22   centers.                                               22         A. I was looking for a memo on the
   23              Prior to this discussion, did the           23   DEA audit summary for 2005 and 2009.
   24   distribution centers have any document to present      24         Q. It's your understanding that

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    1   there was some documentation concerning                    1             MS. McENROE: And that was a Rite
    2   algorithms that may have been provided during              2        Aid produced document.
    3   those inspections?                                         3   BY MR. PIFKO:
    4             MS. McENROE: Objection to form.                  4        Q. There's some words before the
    5             THE WITNESS: I was not at the                    5   number.
    6        inspections. I do not know. I know that               6             Can you read those words, too?
    7        there was an inspection and what was                  7        A. Yes. Rite_Aid_OMDL_.
    8        provided to the DEA through their normal              8        Q. Thanks.
    9        routine audit, which is looking for                   9             So there was no DEA documentation
   10        suspicious order monitoring. The                     10   provided after that audit. Correct?
   11        distribution centers had no violations at            11             MS. McENROE: Objection to form.
   12        those times.                                         12             THE WITNESS: Correct.
   13   BY MR. PIFKO:                                             13   BY MR. PIFKO:
   14        Q. You don't know what was provided                  14        Q. The only documentation that you
   15   to the DEA in connection with those inspections,          15   have is a summary written by Kevin Mitchell?
   16   though?                                                   16             MS. McENROE: Objection to form.
   17             MS. McENROE: Objection to form.                 17             THE WITNESS: Yes.
   18             THE WITNESS: I do not.                          18   BY MR. PIFKO:
   19   BY MR. PIFKO:                                             19        Q. Let's talk about these algorithms
   20        Q. Did the DEA provide any written                   20   that you've been referring to.
   21   documentation after those inspections?                    21             So is it your testimony that
   22        A. I will check.                                     22   these algorithms are part of Rite Aid's
   23        Q. If you can narrate for me what                    23   suspicious order monitoring system?
   24   you're checking, I would appreciate it.                   24        A. They are.
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    1        A.     Sure.                                          1        Q. You've made it sound like there's
    2             I am narrating a communication                   2   more than one?
    3   from Kevin Mitchell, who was our senior manager            3        A. Yes.
    4   of regulatory compliance, for the distribution             4        Q. Is that correct?
    5   centers as an update of the inspection.                    5            So what are the algorithms that
    6             Typically when you have a DEA                    6   you contend are part of Rite Aid's suspicious
    7   inspection, they will leave you -- if there are            7   order monitoring system?
    8   deficiencies, they typically do not leave you any          8            MS. McENROE: Objection to form.
    9   documentation. If you have passed a DEA                    9            THE WITNESS: In an overall
   10   inspection, you can receive a letter of                   10        perspective, what happens is Rite Aid's
   11   admonition.                                               11        system, in order to place an order,
   12             And in this particular                          12        reviews a store's order history for the
   13   correspondence, the words were -- the closing
   14   comments specifically mentioned that they have no
   15   words of advice for the staff for improvement.
   16   It was a flawless audit.                                  16           At that particular point, it
   17        Q. Can you read the -- you are                       17       places an order based on that individual
   18   looking at a document that was produced in the
   19   case. Correct?                                            19       history. And it allows the store to
   20        A. Yes.
   21        Q. What's the Bates number for that
   22   document? Do you know what that -- on the bottom          22            There are other factors that come
   23   right-hand corner, there's a number.                      23       into play, such as a weighted moving
   24        A. 0047171.                                          24       average, depending on what time the order

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    1        is placed. There's calculate regular            1   stores, and twice a week in a very limited number
    2        movement averages, perform checks on            2   of stores.
    3        weeks with no movement.                         3         Q. So let me break that down.
    4              So there's a series of                    4              So most -- what most -- what's
    5        algorithms, but the general overall one         5   the ordering pattern for most stores?
    6        is looking at that specific store's data,       6         A. Most stores, Rite Aid places an
    7        analyzing it, looking at what's on hand         7   order once a week.
    8        in the store, and analyzing to determine        8         Q. Some stores place two orders a
    9        what order should be placed for that            9   week?
   10        store.                                         10         A. Some stores place two orders a
   11   BY MR. PIFKO:                                       11   week, yes.
   12        Q. Can orders be placed manually?              12         Q. Some stores place orders every
   13              MS. McENROE: Object to the form.         13   two weeks?
   14              THE WITNESS: Once the order gets         14         A. Yes.
   15        to the store, there is the ability for         15         Q. Is there any other ordering
   16        the pharmacist to override the order,          16   pattern that we haven't discussed?
   17        yes.                                           17         A. No. The stores are -- once a
   18   BY MR. PIFKO:                                       18   store is programmed in, they can't place
   19        Q. How does that process work, the             19   additional orders.
   20   manual process?                                     20         Q. Well, I'm just trying to
   21        A. If the algorithm says to order              21   understand. So there's three categories here.
   22   60, and the pharmacist has an order for 90          22              There's stores that order once a
   23   tablets, then at that point the pharmacist can      23   week, which is most of the stores.
   24   override to get the additional tablets that they    24              Then there's another category of
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    1   need in the order.                                   1   stores that can order two orders in a week.
    2          Q. So when an order is going to be            2   Correct?
    3   placed, the pharmacist has access to see what        3         A. Correct.
    4   that order is?                                       4         Q. And then there's another category
    5              MS. McENROE: Objection.                   5   of stores that place one order every two weeks.
    6              THE WITNESS: Yes. The                     6   Correct?
    7          pharmacist has to have access to see that     7         A. Correct.
    8          order.                                        8         Q. And there's no other pattern
    9   BY MR. PIFKO:                                        9   within Rite Aid for ordering. Correct?
   10          Q. So it's in this automated system,         10              MS. McENROE: Objection to form.
   11   but then there's some screen where the pharmacist   11              THE WITNESS: From the
   12   can see what the automated system is calculating    12         distribution center, no.
   13   for the order?                                      13   BY MR. PIFKO:
   14          A. Yes.                                      14         Q. When you say most stores are on
   15          Q. Is there a name for that screen?          15   this one order every week pattern, do you have an
   16          A. I don't know what the name is.            16   understanding about the percentage of stores that
   17          Q. Is the pharmacist required to             17   are in that pattern?
   18   check the order before it's placed every time?      18         A. Best guess estimate is 90 percent
   19          A. Typically they do. I don't know           19   are on that pattern.
   20   if it's required.                                   20         Q. How about stores that place two
   21          Q. And so orders are placed by Rite          21   orders a week, do you have a sense of the
   22   Aid stores with a regular frequency. Correct?       22   percentage of stores that fit in that category?
   23          A. Orders are placed once a week,            23         A. Let's reduce the first one to
   24   once every other week in a limited number of        24   80 percent. Sorry.

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    1        Q. Okay. So 80 percent of the                  1   operations?
    2   stores place one order every week. Correct?         2         A. I think a lot of people in the
    3        A. Correct.                                    3   industry use the term "front end" versus
    4        Q. What percentage of stores place             4   pharmacy.
    5   two orders a week?                                  5         Q. But that's also a term that Rite
    6        A. To the best of my knowledge,                6   Aid uses?
    7   about 15 percent.                                   7         A. Yes.
    8        Q. What percentage of stores place             8         Q. Let's go back to the algorithms
    9   one order every two weeks?                          9   of ordering.
   10        A. 5 percent.                                 10              So a pharmacist can see the order
   11        Q. The stores that place two orders           11   that's about to be placed in advance of it being
   12   a week, are they located in specific areas?        12   placed. Correct?
   13             MS. McENROE: Objection.                  13         A. Yes.
   14             THE WITNESS: The stores that             14         Q. How far in advance of it being
   15        order twice a week typically are in urban     15   placed can a pharmacist see it?
   16        areas such as Center City Philadelphia,       16         A. I believe a day. And then they
   17        Center City New York City, where to get       17   have time to review it and then make changes,
   18        one order once a week, there's not enough     18   should they decide to.
   19        room in the store itself to hold the          19         Q. And then when a pharmacist sees
   20        front end merchandise.                        20   the order that's about to be placed, they can
   21             So an order needs to be shipped          21   manually increase the volumes that are on the
   22        twice a week in order to keep the             22   order; is that correct?
   23        merchandise in the store to be sold.          23              MS. McENROE: Objection to form.
   24        That's typically when a store gets two        24              THE WITNESS: They can manually
                                                Page 83                                                 Page 85
    1         orders a week.                                1      increase the volumes or they can manually
    2   BY MR. PIFKO:                                       2      decrease the volumes.
    3         Q. So those stores are -- the square          3   BY MR. PIFKO:
    4   footage of the stores is somewhat smaller and       4      Q. So you talked about the highest
    5   they don't have room for inventory.                 5
    6             Is that what you're saying?
    7         A. Typically, yes.
    8         Q. Are there other occasions where a
    9   store would have two orders a week?                 9         A. Yes.
   10         A. No. That's primarily it.                  10         Q. Okay. But then the pharmacist
   11         Q. What about stores that order once         11   could manually increase that. Correct?
   12   every two weeks, is there some sort of             12              MS. McENROE: Objection to form.
   13   characteristic about those stores?                 13              THE WITNESS: They have the
   14         A. Those may be the lower volume             14         ability to do that.
   15   stores that dispense less prescriptions or have    15   BY MR. PIFKO:
   16   less movement of front end merchandise. A lower,   16         Q. Are there any other algorithms
   17   slower front end selling front end merchandise     17   that are in place?
   18   may get it every two weeks.                        18         A. There are other algorithms or
   19         Q. And just for clarity, when you            19   there are other pieces of the program which
   20   talk about "front end," that's everything that's   20   allows no greater than 99 bottles to be
   21   not in the pharmacy. Correct?                      21   distributed in -- of any given product at any
   22         A. That is correct.                          22   given time as well.
   23         Q. Is that an internal term that             23         Q. Can a pharmacist manually
   24   Rite Aid uses, front end versus pharmacy           24   override that?

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    1         A. The pharmacist has the ability                    1   in each of the facilities.
    2   to -- no. Pardon me. Step back.                            2         Q. And why did that make him someone
    3             The pharmacist cannot override                   3   that was invited to this meeting?
    4   the 99 bottles.                                            4         A. He owned the process of the
    5         Q. Are there any other algorithms in                 5   distribution of the controlled substances and the
    6   place?                                                     6   pickers, was involved with -- directly involved
    7             And you're looking at a document.                7   with the individual pickers that picked, the
    8   Can you read the Bates number of the document?             8   operations of the controlled substance cages.
    9         A. I can. 004 -- oh.                                 9              So because of that and impacting
   10   Rite_Aid_OMDL_0045426.                                    10   thresholds, he was invited to the meeting. And
   11         Q. Is there a name for that                         11   also he was the one that attended the Buzzeo
   12   document?                                                 12   conference that wanted to have some discussion
   13         A. It is called pharmacy                            13   around it.
   14   replenishment algorithm. Okay.                            14         Q. Were there any -- you talked
   15             There are other parts to the                    15   about putting together a document.
   16   algorithm that come into play as well, one of             16              That was something that was
   17   them being making an account for what we call             17   discussed at this meeting. Correct?
   18   90-day fills at the pharmacy.                             18         A. It was.
   19             So what that means is a patient                 19         Q. Did this meeting ultimately
   20   comes in and has a 30 -- a prescription for 30            20   result in a document being created?
   21   days of like their blood pressure medication.             21         A. It did not.
   22   The patient chooses to get a 90-day supply or             22         Q. Why was that?
   23   three months at a time.                                   23         A. Several -- an individual at the
   24             So instead of having the                        24   meeting left the company.
                                                        Page 87                                                 Page 89
    1   replenishment algorithm ship that product to the           1        Q. Who is that?
    2   store for the 30 days, 30 days and 30 days, the            2        A. Maggie Perritt.
    3   algorithm takes into effect that that patient's            3        Q. And she was going to be
    4   not coming back until 90 days. So you have to              4   responsible for putting this documentation
    5   have that product in 90 days instead of two 30             5   together?
    6   days. So that's part of the algorithm as well.             6        A. Yes.
    7              And that's the gist of the                      7        Q. Do you know why she left?
    8   algorithms. The rest of it can be found in the             8        A. To take a job elsewhere. She
    9   document.                                                  9   moved to Florida.
   10        Q. Were there any changes to the                     10        Q. Did she make any comments on the
   11   algorithms?                                               11   perceived sufficiency of Rite Aid's suspicious
   12              MS. McENROE: Objection to form.                12   order monitoring processes?
   13              THE WITNESS: To the best of my                 13             MS. McENROE: Objection to form.
   14        knowledge, no.                                       14             THE WITNESS: After we had the
   15   BY MR. PIFKO:                                             15        meetings -- the meeting, and everybody
   16        Q. Then going back to this meeting,                  16        came together, everyone was overly
   17   Kevin Mitchell was another person who was                 17        confident that our suspicious order
   18   invited. Correct?                                         18        monitoring program was adequate and met
   19        A. Correct.                                          19        DEA rule and regulation. The idea was
   20        Q. Why was he invited?                               20        again to put everything together in one
   21        A. Kevin has responsibility for                      21        space and in one document to be able to
   22   the controlled -- had responsibility for the              22        provide for the DEA. There were no --
   23   controlled substance cages at the distribution            23        from Kevin to Andy to Maggie to myself,
   24   centers and was working with the DEA coordinators         24        there were no changes at that time that

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    1         were noted to be made to the suspicious        1   mentioned the asset protection aspects?
    2         order monitoring program, just to put it       2         A. Correct.
    3         into a format that could be provided to        3         Q. When you say those are the three
    4         governmental agencies when needed.             4   components, that's what you were referring to?
    5   BY MR. PIFKO:                                        5         A. Yes.
    6         Q. Did anyone write down anything              6         Q. Let's talk about the thresholds
    7   after that meeting stating that they were            7   for a moment.
    8   satisfied with Rite Aid's procedures?                8             So I want to talk about how they
    9              MS. McENROE: Objection to form.           9   work.
   10              THE WITNESS: I don't know that           10             So every store, except for the
   11         anyone said that they were satisfied with     11   less than a dozen that you mentioned, has a limit
   12         it. There were communications from Kevin      12   of 5,000 dosage units per NDC per order.
   13         asking to -- for Maggie to put it in so       13   Correct?
   14         that they could get it to distribution        14         A. Correct.
   15         centers, but I don't know that there was      15         Q. And how is that limitation
   16         anything that said everybody signed off       16   implemented?
   17         at the meeting.                               17         A. It is implemented by the pickers
   18   BY MR. PIFKO:                                       18   in the distribution centers.
   19         Q. Are there any other features of            19         Q. How specifically does that occur?
   20   Rite Aid's procedures with respect to identifying   20         A. In the distribution center, when
   21   suspicious orders?                                  21   an item is lit up to be picked, there's a device
   22              MS. McENROE: Objection to form.          22   called the pick -- Pick-to-Light and it lights up
   23              THE WITNESS: Sure. There is an           23   and there's a quantity of the item to be picked.
   24         asset protection side of our suspicious       24   When it lights up, it will say the number of
                                                 Page 91                                                  Page 93
    1         order monitoring program which has a           1   packages to be picked.
    2         number of KPIs which look at cycle counts      2              If the picker sees, say, it's a
    3         down, which look at ordering                   3   bottle of 100, 53 packages to be picked, they
    4         abnormalities. So there are part of the        4   will set -- they won't pick the item and they
    5         asset protection, part of the suspicious       5   will immediately report it to their supervisor.
    6         order monitoring. And that can lead to         6         Q. So an order is placed that
    7         investigations into stores, into theft,        7   exceeds the threshold, the picker sees that on
    8         diversion, whatever it may be.                 8   the lighting system?
    9   BY MR. PIFKO:                                        9         A. Pick-to-Light, yes.
   10         Q. But you testified earlier that             10         Q. So the lighting system identifies
   11   that system was never used to identify and report   11   that it exceeds the threshold or the picker does?
   12   a suspicious order. Correct?                        12              MS. McENROE: Objection to form.
   13             MS. McENROE: Objection to form.           13              THE WITNESS: The picker does.
   14             THE WITNESS: I did.                       14   BY MR. PIFKO:
   15   BY MR. PIFKO:                                       15         Q. So the pickers know that there's
   16         Q. Any other systems in place that            16   this 5,000 dosage unit per NDC per order
   17   Rite Aid had to identify, report and halt the       17   requirement?
   18   shipment of suspicious orders?                      18         A. The pickers are very well versed
   19             MS. McENROE: Objection to form.           19   in the threshold, yes.
   20             THE WITNESS: Those were the               20         Q. Is there documentation that
   21         major three components.                       21   they're provided with that tells them about that
   22   BY MR. PIFKO:                                       22   threshold?
   23         Q. So to be clear, we talked about            23         A. Each of the pickers has an
   24   the thresholds, the algorithm and then you          24   attestation that they understand the 5,000 dosage

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    1   unit limit.                                          1   a computer and determine if the order was on a
    2          Q. What do you mean by dosage unit?           2   replenishment and an auto ship or not.
    3          A. A tablet, a capsule, any                   3         Q. And we talked earlier about
    4   individual dose.                                     4   manually overriding by the pharmacist.
    5          Q. Okay. So the picker has to look            5             Do you recall that?
    6   and see if it's 10 bottles of 50, they have to       6         A. I do.
    7   make that calculation?                               7         Q. Is that what you're
    8          A. Yes. They make that calculation.           8   distinguishing between a manual override and an
    9   Pharmacy packages are typically bottles of 100 or    9   order that's not -- that has no manual overrides?
   10   bottles of 500 or bottles of 1,000. So it's a       10         A. Yes.
   11   simple calculation. There's not half bottles or     11         Q. How does the supervisor see that
   12   anything along those lines. It's typically 100,     12   on a computer screen?
   13   500 and 1,000.                                      13         A. You can identify the particular
   14          Q. Is there any automation that              14   drug. And it would say what your projected order
   15   makes that calculation for them?                    15   was.
   16              MS. McENROE: Objection to form.          16             So let's say that we took those
   17              THE WITNESS: From the                    17   6,000 dosage units that you were discussing, they
   18          Pick-to-Light, there's not.                  18   would be able to see that the auto generated
   19   BY MR. PIFKO:                                       19   order was six bottles to know that that was the
   20          Q. So an order comes in and they --          20   case.
   21   if it says six bottles of 1,000, that exceeds the   21         Q. And if the pharmacist manually
   22   threshold. Correct?                                 22   overrides it, then there's something they can see
   23              MS. McENROE: Objection to form.          23   on there that shows that the amount is different
   24              THE WITNESS: Correct.                    24   than what the auto replenishment system would
                                                 Page 95                                                  Page 97
    1   BY MR. PIFKO:                                        1   have placed?
    2          Q. And then if it exceeds the                 2          A. That is correct. I believe
    3   threshold, they have to call their supervisor?       3   some -- one of the exhibits that we discussed
    4          A. They do.                                   4   yesterday had a screenshot of a suggested order
    5          Q. What do they do when they call             5   and where you could see what the suggested order
    6   their supervisor?                                    6   was, when we were discussing 3151.
    7          A. The supervisor comes over, stops           7          Q. And so where it says suggested
    8   the pick and then investigates the order to          8   order, that's what the auto replenishment system
    9   determine, was it an auto ship order, what was       9   would order?
   10   the nature of the order.                            10          A. That is correct.
   11               And at that particular time, they       11          Q. And so if it's an auto
   12   would short the order to the 5,000 threshold and    12   replenishment system order, what is the
   13   then inquire from the store, if it wasn't an auto   13   supervisor supposed to do?
   14   replenishment order, why they ordered the           14          A. The supervisor -- the order is
   15   additional bottle.                                  15   still cut to the normal -- to the 5,000
   16          Q. So let's break that process out a         16   threshold. And at that point, the supervisor
   17   little bit.                                         17   would reach out and contact the pharmacy to
   18               You said the supervisor comes           18   determine, did they need the 6,000 dosage units
   19   over and looks at the order.                        19   and if they did, what was the reason. And if
   20               How do they tell if it's an auto        20   they -- if it continued to go above what the
   21   ship order?                                         21   threshold was, how they could get an increase to
   22          A. There is -- once they realize the         22   their threshold.
   23   drug in that, there is a terminal in the            23          Q. Is the order filled before that
   24   distribution center in the cage. They can go to     24   conversation occurs?

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    1             MS. McENROE: Objection to form.            1   but this is the hands-on log in the cage.
    2             THE WITNESS: The order is                  2          Q. So any notes of any discussion
    3         reduced to the 5,000, yes. And the             3   would be contained in that log?
    4         conversation can occur after the order is      4          A. Yes.
    5         reduced.                                       5          Q. What happens to that log after
    6   BY MR. PIFKO:                                        6   it's -- where do they keep their log?
    7         Q. Is there any documentation of               7               MS. McENROE: Objection to form.
    8   this conversation that occurs?                       8               THE WITNESS: They keep the log
    9         A. There is documentation in the               9          in the controlled drug cage with the
   10   controlled drug cage.                               10          other DEA records.
   11         Q. Is there a name of a form or a             11   BY MR. PIFKO:
   12   logbook or something where they write down          12          Q. Do they send it to anyone with
   13   anything about the conversation?                    13   some frequency?
   14         A. There is a log, yes.                       14          A. This log, they may send it to
   15         Q. What's it called?                          15   myself or Kevin Mitchell or Chris Belli for
   16         A. Let me look.                               16   review as well.
   17         Q. And when you get to what you're            17          Q. They may, but they're not
   18   looking at, please identify the Bates number.       18   required to do so?
   19         A. I'm going to flip through,                 19               MS. McENROE: Objection to form.
   20   because I'm not finding what I wanted to see.       20               THE WITNESS: They're not
   21         Q. What specifically are you looking          21          required to do so.
   22   for?                                                22   BY MR. PIFKO:
   23         A. There is a threshold log that is           23          Q. So they would call the pharmacist
   24   created at the distribution centers that would      24   to ask if they -- in a situation where the order
                                                 Page 99                                                Page 101
    1   identify who was called on what date and what        1   exceeds the threshold, they would call the
    2   their response was.                                  2   pharmacist and ask if that was -- they intended
    3         Q. And when you're looking through             3   to place that order. Correct?
    4   that binder -- I assume you've looked at all the     4         A. That is correct.
    5   materials in the binder. Correct?                    5         Q. But regardless of what the
    6         A. I have.                                     6   pharmacist says, the order is cut to threshold?
    7         Q. Are you looking for an example of           7               MS. McENROE: Objection to form.
    8   a threshold log, or are you looking for a policy     8               THE WITNESS: That is correct.
    9   that discusses it?                                   9   BY MR. PIFKO:
   10         A. I'm looking for an example of a            10         Q. And that may be shipped before
   11   threshold log. And it is called the Controlled      11   that conversation occurs. Correct?
   12   Drug Above Average Order Monitoring Log.            12         A. That is also correct.
   13         Q. And that's the document that --            13               The number on the log that I'm
   14   where the supervisor notates any conversation       14   looking at, do you want that?
   15   they may have had with the pharmacist?              15         Q. Oh, yes. Thank you.
   16         A. That is correct.                           16         A. Okay. Rite_Aid_OMDL_0024039.
   17         Q. Is there any other place where             17         Q. Is there any other discussion
   18   they would note their discussion?                   18   that occurs in the situation where an order
   19         A. This is the primary document               19   exceeds the threshold?
   20   where they would note their discussion.             20               MS. McENROE: Objection to form.
   21         Q. You said primary.                          21               THE WITNESS: The discussion is
   22             Is there a secondary document?            22         at the distribution center when the order
   23         A. They may have an Excel                     23         is -- to the best of my knowledge, no.
   24   spreadsheet that they would create a log as well,   24   BY MR. PIFKO:

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    1          Q. So other than calling the                  1        documentation of the call.
    2   pharmacist to ask if they intended to place that     2   BY MR. PIFKO:
    3   order, there is no other discussion. Correct?        3        Q. That's the only documentation of
    4          A. If they're -- part of the policy           4   any investigation that may be conducted.
    5   is if there was an order that there was deemed to    5   Correct?
    6   be suspicious, part of the policy then is to         6              MS. McENROE: Objection to form.
    7   contact government affairs, myself, to               7              THE WITNESS: Yes. The log is
    8   investigate and determine if there was any           8        the documentation.
    9   suspicion or diversion or anything.                  9   BY MR. PIFKO:
   10          Q. But that's never happened.                10        Q. So let's talk about the override
   11   Correct?                                            11   or threshold increase.
   12          A. It has not.                               12              Can the -- is it possible to make
   13          Q. No one has ever called you and            13   a one-time override?
   14   said an order is potentially suspicious?            14              MS. McENROE: Objection to form.
   15               MS. McENROE: Objection to form.         15              THE WITNESS: I don't know that
   16               THE WITNESS: They have not.             16        it's ever been done, but it could be
   17   BY MR. PIFKO:                                       17        possible for someone to call me and ask
   18          Q. So other than this conversation           18        for a one-time override. And yes, it
   19   with the pharmacist, is there anything else that    19        could be done.
   20   happens?                                            20   BY MR. PIFKO:
   21               MS. McENROE: Objection to form.         21        Q. But to your knowledge, that's
   22               THE WITNESS: After the                  22   never happened?
   23          conversation with the pharmacist, and if     23        A. No.
   24          the pharmacist deems that it's necessary,    24        Q. So when you mentioned that
                                                Page 103                                                Page 105
    1         that they need the additional product to       1   someone could ask for a threshold increase, that
    2         service their patients and meet their          2   would be a permanent increase for that location.
    3         patients' healthcare needs, then they can      3   Correct?
    4         reach out to their pharmacy district           4             MS. McENROE: Objection to form.
    5         manager who, at that term will determine,      5             THE WITNESS: That would be an
    6         yes, there is a valid need to increase         6        increase that would be put in place and
    7         the threshold. And then ask me to              7        then monitored routinely to make sure
    8         complete a threshold override so that          8        that the usage and the reason for the
    9         they can go above the 5,000 dosage units       9        override would occur.
   10         based on valid patient need.                  10             I would foresee a one-time
   11   BY MR. PIFKO:                                       11        threshold override if there was a store
   12         Q. Let's hold on to that for a                12        that had a night burglary and all of the
   13   second.                                             13        products were stolen from the store. So
   14              Other than making a request to           14        obviously you would need to get product
   15   increase the threshold, is there any other          15        into that store. So there may be the
   16   discussion that occurs?                             16        potential for an override in situations
   17              MS. McENROE: Objection to form.          17        like that.
   18              THE WITNESS: There is not.               18   BY MR. PIFKO:
   19   BY MR. PIFKO:                                       19        Q. Do you recall that ever
   20         Q. And there's -- other than writing          20   occurring?
   21   down this log, there is no other documentation      21        A. There are night break-ins, yes.
   22   that's made. Correct?                               22   I don't recall ever doing a threshold override,
   23              MS. McENROE: Objection to form.          23   but we do have night break-ins and armed
   24              THE WITNESS: The log is the              24   robberies, yes.

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    1         Q. In situations where an order is             1   organizational structure of your department.
    2   placed to fill product that's been stolen in an      2   Correct?
    3   overnight robbery, is there any -- other than        3         A. I did.
    4   reporting theft to the DEA, is there any             4         Q. Is there any sort of
    5   reporting of that order being potentially            5   suborganizational structure of people who would
    6   suspicious?                                          6   just deal with threshold increases?
    7             MS. McENROE: Objection to form.            7         A. From the distribution center,
    8             THE WITNESS: There is not.                 8   when we distributed, there was myself and Andrea
    9   BY MR. PIFKO:                                        9   Bucher.
   10         Q. So then when we're talking about           10         Q. So only the two of you would have
   11   this override of the threshold, the store can       11   been the only people who would deal with
   12   then request that their threshold be increased?     12   threshold increases?
   13         A. If it was a one-time threshold,            13         A. I'm thinking of the time frame of
   14   typically the pharmacy district manager would       14   when individuals entered the department. There
   15   make a call and ask for it because of the           15   is the possibility that another member of my
   16   extenuating circumstance.                           16   team, Amy Knisely, may have looked at thresholds
   17         Q. But we talked this, there's never          17   as well.
   18   been to your knowledge a one-time increase?         18         Q. Anyone else?
   19         A. To the best of my knowledge, no.           19         A. No.
   20         Q. So if after this call -- so you            20         Q. So you, Andrea Bucher or Amy
   21   said that on the call, the supervisor asked the     21   Knisely would be the only people that would have
   22   pharmacist if they intended to place that order.    22   evaluated a threshold increase request?
   23   Correct?                                            23         A. Yes.
   24             MS. McENROE: Objection to form.           24         Q. Is there a document that has to
                                                Page 107                                                 Page 109
    1              THE WITNESS: Correct.                     1   be created to get requests to threshold increase?
    2   BY MR. PIFKO:                                        2             MS. McENROE: Objection to form.
    3         Q. And then if they say yes, the               3             THE WITNESS: There is no
    4   next thing that the supervisor tells them is         4         document, just an email with the reason
    5   how -- the process that they can go through to       5         why the increase is needed and -- on an
    6   get their threshold increased. Correct?              6         email.
    7              MS. McENROE: Objection to form.           7   BY MR. PIFKO:
    8              THE WITNESS: That is correct.             8         Q. So the district manager sends an
    9   BY MR. PIFKO:                                        9   email to you or one of the members of your team?
   10         Q. And so what is the process then            10         A. They do.
   11   that a store would undertake to get a threshold     11         Q. Can the pharmacist go directly to
   12   increase?                                           12   you?
   13         A. At that particular time, the               13         A. If the pharmacists come directly
   14   store would reach out to their pharmacy district    14   to us, we reroute it to the pharmacy district
   15   manager or immediate supervisor and say, my order   15   manager in order to make sure that they're aware
   16   has been cut back. I can't service my patients.     16   that there's a request in for them to say, yes,
   17   Please seek a threshold increase on hydrocodone     17   please look at the request.
   18   for my particular store. And then the pharmacy      18             MS. McENROE: Mark, we've been
   19   district manager would send that increase request   19         going for about an hour, so whenever is a
   20   to myself or a member of my team.                   20         good time for a break.
   21         Q. Is there a name for that team?             21             MR. PIFKO: Okay.
   22         A. Regulatory compliance, government          22   BY MR. PIFKO:
   23   affairs. It's both one and the same.                23         Q. The district manager has to
   24         Q. So you talked yesterday about the          24   approve sending the request to you and your team?

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    1         A. Yes.                                        1         Q. Okay. And so then upon receiving
    2         Q. And even if a pharmacist makes it           2   that, you would then look at the data for that
    3   directly, you then back route it to the district     3   pharmacy as you just testified a few minutes ago?
    4   manager to make sure that they would approve it      4         A. We would. Similar to what we
    5   first?                                               5   looked at yesterday for 3151.
    6         A. Sure. I would -- I could make a             6              MR. PIFKO: Okay. We can take a
    7   phone call to the pharmacy district manager and      7         break.
    8   say, hey, we have a request that came in from        8              MS. McENROE: Okay.
    9   your store 1234, you know, do you want us to work    9              THE VIDEOGRAPHER: Going off the
   10   on it or look at it. And they would say yes or      10         record at 11:35 a.m.
   11   no once they determined if it was needed or not.    11                  - - -
   12   But yes.                                            12              (A recess was taken from
   13         Q. We'll take a break in just a               13         11:35 a.m. to 11:53 a.m.)
   14   moment, but I want to ask you, are there any        14                  - - -
   15   criteria or attributes of the pharmacy that you     15              THE VIDEOGRAPHER: We're back on
   16   look for when you're evaluating a threshold         16         the record at 11:53 a.m.
   17   increase?                                           17   BY MR. PIFKO:
   18              MS. McENROE: Objection to form.          18         Q. I want to ask you some questions.
   19              THE WITNESS: For a threshold             19              You brought a binder with you
   20         increase, we look at usage from the           20   today. Correct?
   21         store, the order history, the suggested       21         A. I did.
   22         order and an average of the monthly           22         Q. Can you describe for the record
   23         dispensings of that particular drug for       23   what that binder is?
   24         the store.                                    24         A. Sure. It was documents that I
                                                Page 111                                                 Page 113
    1   BY MR. PIFKO:                                        1   asked counsel to put together and make copies of
    2         Q. When they make the request to               2   for me as part of my testimony, or depositions so
    3   you, though, do they have to provide any specific    3   that I could refer to them.
    4   type of information in the email request?            4         Q. I'm handing you what's marked as
    5         A. Sometimes they do and sometimes             5   Exhibit 4.
    6   they don't. Sometimes they would say, a new          6                 - - -
    7   clinic opened down the street, depending on the      7             (Deposition Exhibit No.
    8   request that came in.                                8         Hart-30(b)(6)-4, Index of Binder, was
    9         Q. But my question was different.              9         marked for identification.)
   10              Are they required to provide             10                 - - -
   11   certain types of information in the email making    11   BY MR. PIFKO:
   12   the request to you?
   13         A. They are not required to put it
   14   in the email, but that does not mean that we
   15   don't follow up and get the extenuating
   16   circumstance of why they're asking for the
   17   increase.
   18         Q. So the only thing that's required
   19   is that they tell you that they want the
   20   increase?
   21              MS. McENROE: Objection to form.
   22              THE WITNESS: In the email, yes.
   23         But there would be follow-up with them.
   24   BY MR. PIFKO:

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                                               6        Q. Did you review all these
                                               7   documents prior to today's deposition?
                                               8        A. I did.
                                               9        Q. Did you review any other
                                              10   documents prior to today's deposition, beyond
                                              11   what's in this -- that binder?
                                              12        A. I did.
                                              13        Q. What was the basis for reviewing
                                              14   the other documents that you reviewed other than
                                              15   the ones that are in the binder?
                                              16             MS. McENROE: Objection. I just
                                              17        want to caution the witness in terms of
                                              18        not revealing substance discussed with
                                              19        counsel, to avoid divulging any verbally,
                                              20        of course, privileged information.
                                              21             Can you restate the question?
                                              22        Just so I make sure I understand how it's
                                              23        not asking for privileged information.
                                              24   BY MR. PIFKO:

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    1       Q.      Yeah.                                   1             THE WITNESS: I believe all the
    2             So you reviewed the documents in          2         documents that I reviewed were provided.
    3   the binder to prepare for the deposition.           3   BY MR. PIFKO:
    4   Correct?                                            4         Q. How did you decide what documents
    5         A. Correct.                                   5   that you wanted to review?
    6         Q. And you reviewed other documents           6         A. I looked at the importance of the
    7   that aren't in the binder to prepare for the        7   documents and what I might make part of my
    8   deposition; is that correct?                        8   deposition. And picked some of the positives or
    9         A. Correct.                                   9   like in the analytics part of it, the algorithms.
   10         Q. Okay. When did you review the             10   I'm not an algorithm person, so I wanted to have
   11   other documents that weren't in the binder?        11   something in front of me to be able to review.
   12         A. When I met with counsel to                12         Q. Did you speak to anyone other
   13   prepare.                                           13   than counsel to prepare for the deposition?
   14         Q. Okay. It's like a two-inch                14         A. Today or previously?
   15   binder that you have in front of you.              15         Q. At any time.
   16             It's basically full. Agreed?             16         A. I have.
   17         A. Yes.                                      17         Q. Okay. Who did you speak with?
   18         Q. And is it double-sided?                   18         A. I spoke with Marcia Brumbaugh,
   19         A. Yes.                                      19   who is in our IT department. Charlie Miller,
   20         Q. The volume of documents that you          20   Andy Palmer, Ron Chima.
   21   reviewed that's not in the binder, how does that   21             I'm trying to think.
   22   compare to the volume of documents that's in the   22             Those are the people within the
   23   binder?                                            23   corporation that I spoke to, or with or former.
   24             MS. McENROE: Objection to form.          24         Q. How long did you speak to Marcia?
                                               Page 119                                                 Page 121
    1              THE WITNESS: Many more documents         1        A. I believe it was about an
    2        were reviewed aside from this -- these         2   hour-and-a-half.
    3        27.                                            3        Q. Did you have more than one
    4   BY MR. PIFKO:                                       4   conversation with her?
    5        Q. So you would say there's a lot              5        A. I had one conversation with her.
    6   more documents that you reviewed to prepare for     6        Q. What did you discuss with her to
    7   the deposition that aren't in the binder.           7   prepare for the deposition?
    8   Correct?                                            8             MS. McENROE: Objection. I just
    9        A. There were.                                 9        want to interject. To the extent counsel
   10        Q. You just went through the                  10        was involved, that you shouldn't discuss
   11   exercise of reading all those numbers. As we       11        the substance as privileged.
   12   discussed, those are Bates numbers.                12             THE WITNESS: Okay.
   13              Do you believe that all the             13             MR. PIFKO: Well, preparations
   14   documents that you reviewed to prepare for the     14        for a 30(b)(6) are not -- if she's trying
   15   deposition had those kinds of numbers on them?     15        to inform herself, they're not
   16        A. I believe so, yes.                         16        privileged.
   17        Q. Do you know if there's any                 17             MS. McENROE: On the underlying
   18   documents that you reviewed to prepare for the     18        facts, I agree with you. I just want to
   19   deposition that were not provided to the           19        make sure that any of the substance that
   20   plaintiffs in the litigation?                      20        could have been discussed at the
   21              MS. McENROE: What he means by           21        direction of counsel or with input from
   22        that is, if it has a Bates number, that       22        counsel is not divulged inadvertently.
   23        it would be provided to plaintiffs in the     23             THE WITNESS: Can you repeat the
   24        litigation.                                   24        question?

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    1   BY MR. PIFKO:                                        1       Q.    And which tab was that?
    2        Q. Yeah.                                        2       A.    Let me look.
    3             I just want to know -- okay.               3            That would be 7 and 8.
    4             So you had one conversation with
    5   Marcia to prepare for the deposition. Correct?
    6        A. I did.
    7        Q. Okay. And my question is, and
    8   you said that you spoke to her for about an
    9   hour-and-a-half. Correct?
   10        A. That is correct.
   11        Q. Sorry. You need to give an
   12   audible response.
   13             Did you speak to her in person or
   14   on the phone?
   15        A. In person.                                  15        Q. You also spoke to Charlie Miller?
   16        Q. Who else was present at that                16        A. I did.
   17   meeting?                                            17        Q. Who is Charlie Miller?
   18        A. Counsel.                                    18        A. Charlie Miller is a pharmacist
   19        Q. Anyone else?                                19   for Rite Aid at present.
   20        A. That was it.                                20        Q. Where is he based?
   21        Q. Okay. And for purposes of                   21        A. He is in Pennsylvania.
   22   preparing of the deposition, what did you discuss   22        Q. Does he work for a specific
   23   with her?                                           23   store?
   24        A. We discussed the algorithm.                 24        A. Yes, he's a pharmacist in a
                                                Page 123                                             Page 125
    1         Q. Anything else?                              1   store. I don't know the location.
    2         A. That was primarily it.                      2        Q. Somewhere in Pennsylvania?
    3         Q. What's Marcia's background?                 3        A. Yes.
    4         A. She is in our information -- IT             4        Q. In Philadelphia, or you don't
    5   department.                                          5   know that?
    6         Q. Does she have knowledge about the           6        A. I think closer to York.
    7   algorithm?                                           7        Q. And what did you speak with Mr.
    8         A. She does.                                   8   Miller to prepare for the deposition about?
    9         Q. Did she have any role in                    9             MS. McENROE: Same objection,
   10   designing it?                                       10        same instruction, in terms of any
   11         A. I don't know that.                         11        involvement of counsel, stay away from
   12         Q. Do you know how long she's been            12        any of that sort of privileged
   13   with the company?                                   13        discussion. But for the underlying
   14         A. I'm going to say at least 15               14        facts, so long as you're not divulging
   15   years.                                              15        privileged information, you may answer.
   16         Q. Do you know if Marcia had any
   17   role in modifying the algorithm at any time?
   18         A. I don't know that.
   19         Q. Okay. For purposes of preparing
   20   for the deposition, what did Marcia tell you
   21   about the algorithm?
   22         A. We went over the document on the
   23   algorithm that was involved in here, just to give
   24   an overview of the algorithm.

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                                                         1        A. We did review some documents.
                                                         2        Q. What documents did you review?
                                                         3        A. Some Above Average logs.
                                                         4        Q. Anything else?
                                                         5        A. That was primarily it.
    6        Q. So you spoke to him on the phone?        6        Q. Are you aware that Andy Palmer
    7        A. Yes.                                     7   was deposed in this case?
    8        Q. Less than 20 minutes?                    8        A. I am.
    9        A. Yes.                                     9        Q. Did you review his deposition
   10        Q. Less than five minutes?                 10   transcripts to prepare for this deposition?
   11        A. Yes.                                    11        A. I did not review Andy's
   12        Q. Andy Palmer, you spoke to him to        12   transcripts.
   13   prepare for the deposition?                     13        Q. Did you review any deposition
   14        A. I did.                                  14   transcripts to prepare for this deposition?
   15        Q. How many times did you speak with       15        A. I reviewed Chris Belli's
   16   him?                                            16   transcript, Rick Chapman's transcript and part of
   17        A. Twice.                                  17   Andrea Bucher's transcript.
   18        Q. Were those in person or on the          18        Q. Only part of Andrea's transcript?
   19   phone?                                          19        A. Yes.
   20        A. They were in person.                    20        Q. What part of her transcript did
   21        Q. When was the first time that you        21   you review?
   22   spoke to Andy?                                  22        A. I briefly read through
   23        A. Two to three weeks ago.                 23   approximately the first half of it and then that
   24        Q. When was the second time you            24   was it.
                                             Page 127                                                Page 129
    1   spoke to him?                                    1         Q. Why was is it that you only
    2       A. Within the last week or two.              2   looked at the first half?
    3       Q. The first conversation that you           3         A. I simply didn't have enough time.
    4   had with him, how long was that?                 4         Q. What did you learn from reviewing
    5       A. A few hours.                              5   her transcript?
                                                         6              MS. McENROE: Objection to form.
                                                         7              THE WITNESS: When she was --
                                                         8              MS. McENROE: You can answer.
                                                         9              THE WITNESS: What she was asked
                                                        10         questions about, similar to what I was
                                                        11         asked questions about.
                                                        12   BY MR. PIFKO:
                                                        13         Q. So then you said you met with
                                                        14   Andy Palmer again in the last week or so?
                                                        15         A. Yes.
                                                        16         Q. How long was that meeting?
                                                        17         A. An hour, an hour-and-a-half.
                                                        18         Q. What did you discuss during that
                                                        19   meeting?
   20   BY MR. PIFKO:                                   20              MS. McENROE: Same objection and
   21        Q. Anything else?                          21         same instruction with respect to not
   22        A. That was primarily that.                22         divulging privileged communications. But
   23        Q. Did you review any documents with       23         to the extent that you learned facts that
   24   him to have that discussion?                    24         you're testifying about here today, you

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    1    may testify.



                                               5        Q. Did you discuss anything else
                                               6   with Mr. Palmer in the second meeting?
                                               7             MS. McENROE: Same instruction
                                               8        with respect to privilege.
                                               9             You may answer.
                                              10             THE WITNESS: Not that I
                                              11        remember, no.
                                              12   BY MR. PIFKO:
                                              13        Q. How about Ron Chima, what did
                                              14   you --
                                              15             MS. McENROE: Go ahead.
                                              16   BY MR. PIFKO:
                                              17        Q. What did you discuss with Mr.
                                              18   Chima?
                                              19             MS. McENROE: I'm going to object
                                              20        and instruct the witness not to answer.
                                              21        Mr. Chima is in-house counsel for Rite
                                              22        Aid, and so I -- I have given you some
                                              23        leeway with respect to the underlying
                                              24        fact witnesses, but I'm sorry that I
                                   Page 131                                            Page 133
                                               1        can't do the same with respect to Mr.
                                               2        Chima.
                                               3   BY MR. PIFKO:
                                               4        Q. Did you discuss any facts that
                                               5   you needed to know to serve as the 30(b)(6)
                                               6   witness with Mr. Chima?
                                               7             MS. McENROE: That's just a yes
                                               8        or no.
                                               9             THE WITNESS: I did not discuss
                                              10        any facts.
                                              11   BY MR. PIFKO:
                                              12        Q. How long did you meet with Mr.
                                              13   Chima?
                                              14        A. Not long at all. I would -- you
                                              15   know, a short meeting. Not even a meeting, a
                                              16   conversation.
                                              17             MS. McENROE: Okay.
                                              18   BY MR. PIFKO:
                                              19        Q. Was that in person?
                                              20             MS. McENROE: You may answer that
                                              21        question.
                                              22             THE WITNESS: Yes.
                                              23   BY MR. PIFKO:
                                              24        Q. When was that?

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    1         A. Way back when the whole process
    2   started.
    3         Q. So a few months ago?
    4         A. Yes.
    5         Q. On or around the time that you
    6   first saw the notices?
    7         A. Yes.
    8              MR. PIFKO: Why don't take a --
    9         it looks like it's 12:20, we'll take a
   10         lunch break.
   11              MS. McENROE: Sure.
   12              THE VIDEOGRAPHER: Going off the
   13         record at 12:16 p.m.
   14                  - - -
   15              (A recess was taken from
   16         12:16 p.m. to 1:10 p.m.)
   17                  - - -
   18              THE VIDEOGRAPHER: Back on the
   19         record at 1:10 p.m.
   20   BY MR. PIFKO:
   21         Q. Welcome back.
   22         A. You too.
   23         Q. Before the break, we were talking
   24   about threshold increases.
                                                 Page 135                 Page 137
    1          Do you recall that?
    2      A. I do.
    3              - - -
    4          (Deposition Exhibit No.
    5      Hart-30(b)(6)-5, Email chain, top one
    6      dated 16 Sep 2011, Bates stamped
    7      MCKMDL00632923 through MCKMDL00632925,
    8      was marked for identification.)
    9              - - -
   10   BY MR. PIFKO:




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                                               8        MS. McENROE: Objection to form.
                                               9   And again, you already elicited the
                                              10   testimony that Rite Aid did not consider
                                              11   the McKesson thresholds to be part of the
                                              12   suspicious order monitoring.
                                              13        MR. PIFKO: You're giving a
                                              14   speaking objection. You can't do that.
                                              15   You've got to stop --
                                              16        MS. McENROE: You said I could
                                              17   have 10 seconds. And you're going far
                                              18   beyond --
                                              19        MR. PIFKO: No, no. I didn't say
                                              20   you could have 10 seconds. You can
                                              21   object to scope and that's it. You're
                                              22   coaching the witness. You need to stop.
                                              23        MS. McENROE: I'm not coaching
                                              24   the witness. I'm trying to speak to you.

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    1         MR. PIFKO: You're speaking here,       1      scope of it after the deposition is over.
    2    you're giving testimony.                    2          MS. McENROE: Objection as to
    3         MS. McENROE: Do you want to go         3      scope.
    4    off the record --                           4   BY MR. PIFKO:
    5         MR. PIFKO: No.
    6         MS. McENROE: -- and you and I
    7    can go talk in the hallway?
    8         MR. PIFKO: No, I don't.
    9         MS. McENROE: Then that's fine.
   10         MR. PIFKO: I want you to object
   11    properly.
   12         MS. McENROE: I'm objecting just
   13    fine. You are all over the place.
   14         MR. PIFKO: Okay.
   15         MS. McENROE: Can you tell me
   16    which 30(b)(6) topic --
   17         MR. PIFKO: No. I'm asking the
   18    questions here. Okay?
   19         MS. McENROE: -- you are talking
   20    about?
   21         MR. PIFKO: If you want to --
   22         MS. McENROE: I understand you're
   23    asking questions, but you're way beyond
   24    the scope. She already gave you
                                         Page 147                                                 Page 149
    1     testimony, this isn't part of our
    2     suspicious order monitoring program.
    3     Where is your basis for asking the
    4     question?
    5          MR. PIFKO: Are you done
    6     speaking? Are you done speaking?
    7          MS. McENROE: Are you just not
    8     going to tell me?
    9          MR. PIFKO: You're interrupting
   10     the deposition. Okay?
   11          MS. McENROE: Are you not going
   12     to tell me?
   13          MR. PIFKO: You can object to
   14     form. You can object to scope. Other
   15     than that, you need to be quiet.
   16          MS. McENROE: Well, I'm going to
   17     take that as a concession that you don't
   18     have a 30(b)(6) topic, so a full --
   19          MR. PIFKO: I'm not conceding
   20     anything.
   21          MS. McENROE: -- line of
   22     questioning is improper.
   23          MR. PIFKO: I'm asking my
   24     questions. Okay? We can fight about the

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                                               3   BY MR. PIFKO:
                                               4        Q. Have you heard of the concept
                                               5   "the holy trinity"?
                                               6             MS. McENROE: Objection to form,
                                               7        objection to scope.
                                               8             THE WITNESS: I have.
                                               9   BY MR. PIFKO:
                                              10        Q. What does that mean to you?
                                              11        A. The holy trinity is an opioid, a
                                              12   benzodiazepam -- benzodiazepine and a muscle
                                              13   relaxant prescribed for a person at one time.
                                              14        Q. Is that a red flag?
                                              15             MS. McENROE: Objection to form,
                                              16        objection to scope.
                                              17             THE WITNESS: The trinity is a
                                              18        red flag, yes.
                                              19   BY MR. PIFKO:
                                              20        Q. And why is that a red flag?
                                              21             MS. McENROE: Objection to form,
                                              22        objection to scope.
                                              23             THE WITNESS: The DEA has come
                                              24        out and stated that there should be no

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    1        reason why a prescriber should prescribe       1              THE WITNESS: We would look at
    2        those three medications for one patient        2         the patient profile and look at the type
    3        at one time.                                   3         of the prescriber and review it.
    4   BY MR. PIFKO:                                       4   BY MR. PIFKO:
    5        Q. Would you also look at the nature           5         Q. Would you look at the physical
    6   of the patients when you ran some of this           6   location of the prescriber in relationship to the
    7   prescriber level analysis?                          7   patient?
    8             MS. McENROE: Objection to form,           8              MS. McENROE: Objection to form,
    9        objection to scope.                            9         objection to scope.
   10             THE WITNESS: We would look at            10              THE WITNESS: We could look at
   11        patients if one -- when we ran our            11         that, yes.
   12        analysis, if one patient stood out, we        12   BY MR. PIFKO:
   13        would look at a particular patient, yes.      13         Q. You would agree that one red flag
   14   BY MR. PIFKO:                                      14   is if you have patients from out of the area
   15        Q. Would you look at the actual               15   filling a prescription, that could be a red flag?
   16   scripts that were written?                         16              MS. McENROE: Objection to form,
   17             MS. McENROE: Objection to form,          17         objection to scope.
   18        objection to scope.                           18              THE WITNESS: Patients traveling
   19             THE WITNESS: We would look at            19         distance to get a prescription filled
   20        original scripts as well.                     20         could be a red flag or it may not be a
   21   BY MR. PIFKO:                                      21         red flag.
   22        Q. Would you look at the conditions           22   BY MR. PIFKO:
   23   for which the prescription was being written?      23         Q. Would you agree that -- in what
   24             MS. McENROE: Objection to form,          24   situation would it be a red flag?
                                               Page 159                                                 Page 161
    1        objection to scope.                            1               MS. McENROE: Objection to form,
    2             THE WITNESS: We would look if             2         objection to scope.
    3        there was a description.                       3               THE WITNESS: It could possibly
    4   BY MR. PIFKO:                                       4         be a red flag if a patient lived two
    5        Q. Okay. But you wouldn't -- what              5         hours away from a pharmacy and drove by
    6   would you do -- if there was a description, what    6         two other pharmacies to get to the
    7   would you do with that information?                 7         pharmacy where they were filling it.
    8             MS. McENROE: Objection to form,           8   BY MR. PIFKO:
    9        objection to scope.                            9         Q. What about if a doctor is from
   10             THE WITNESS: It would remain on          10   out of the area and the patient is bringing a
   11        the prescription.                             11   script from a far away doctor? Is that a red
   12   BY MR. PIFKO:                                      12   flag?
   13        Q. But would you look if there                13               MS. McENROE: Objection to form,
   14   was -- a prescription was being written for a      14         objection to scope.
   15   medication that the reason on the prescription     15               THE WITNESS: Again, it all
   16   seemed unusual to you?                             16         depends on the type of doctor, where the
   17             MS. McENROE: Objection to form,          17         patient and the pharmacy is located.
   18        objection to scope.                           18         There are things to consider if it's,
   19             THE WITNESS: Yes.                        19         say, Johns Hopkins -- if the doctor is
   20   BY MR. PIFKO:                                      20         from Johns Hopkins and the patient is
   21        Q. And what would you do with that            21         filling it on the Eastern Shore of
   22   information?                                       22         Maryland, I wouldn't -- that may not be a
   23             MS. McENROE: Objection to form,          23         red flag as obviously Johns Hopkins is a
   24        objection to scope.                           24         medical hub type thing.

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                                                                           Review
                                                Page 162                                               Page 164
    1   BY MR. PIFKO:                                        1         Q. And what would the nature of the
    2        Q. On these occasions when you would            2   visit to the prescriber's office be?
    3   run these prescriber analyses, would you document    3              MS. McENROE: Objection to form,
    4   your findings?                                       4         objection to scope.
    5             MS. McENROE: Objection to form,            5              THE WITNESS: We have all of the
    6        objection to scope.                             6         data in front of us, but we don't know
    7             THE WITNESS: We would maintain a           7         what the office looks like, if it's a
    8        file on the doctor.                             8         functioning office, if it's in an office
    9             Again, this was Sophia, but -- in          9         building that would look like a
   10        this instance, but if we were reviewing        10         physician's office. And so the PDM and
   11        doctors, yes, we would maintain a file on      11         the APDM are responsible for sending back
   12        that doctor.                                   12         pictures of the doctor's office if
   13   BY MR. PIFKO:                                       13         possible, looking at the doctor's office
   14        Q. What would that file be called?             14         to determine if there are people walking
   15             MS. McENROE: Objection to form,           15         in and out and getting prescriptions
   16        objection to scope.                            16         every five minutes and not what would be
   17             THE WITNESS: The file would be            17         a normal doctor visit.
   18        the DEA number of the doctor and their         18              So they would be the eyes and
   19        name.                                          19         ears looking for things like that.
   20   BY MR. PIFKO:                                       20   BY MR. PIFKO:
   21        Q. Is there some sort of specific              21         Q. When you said PDM, you meant
   22   use that you would do with that file?               22   pharmacy district manager?
   23             MS. McENROE: Objection to form,           23         A. Yes.
   24        objection to scope.                            24         Q. And APM is assistant pharmacy
                                                Page 163                                               Page 165
    1             THE WITNESS: We just store it on           1   manager?
    2        our drives.                                     2        A. Asset protection.
    3   BY MR. PIFKO:                                        3        Q. Okay. Thank you.
    4        Q. Would there be occasions if you              4             In connection with those visits,
    5   found -- I believe you said on certain occasions     5   would they speak to the doctor?
    6   there can be a suspicious prescriber; is that        6             MS. McENROE: Objection to form,
    7   correct?                                             7        objection to scope.
    8             MS. McENROE: Objection to form,            8             THE WITNESS: They would ask to
    9        objection to scope.                             9        speak with office staff or to speak with
   10             THE WITNESS: That is correct.             10        the doctor. They would provide
   11   BY MR. PIFKO:                                       11        information on Rite Aid, such as the
   12        Q. If you found a prescriber to be a           12        ability to get a flu shot at Rite Aid,
   13   suspicious prescriber, what would you do?           13        things along those lines.
   14             MS. McENROE: Objection to form,           14   BY MR. PIFKO:
   15        objection to scope.                            15        Q. Would they tell the doctor that
   16             THE WITNESS: If we found a                16   they were investigating that doctor as a
   17        suspicious prescriber, we would then look      17   potentially suspicious prescriber?
   18        at the profile, verify the profile and         18             MS. McENROE: Objection to form,
   19        send out a clinic protocol to the field        19        objection to scope.
   20        teams, the asset protection district           20             THE WITNESS: They would not.
   21        manager and the pharmacy district              21   BY MR. PIFKO:
   22        manager, to go and visit the prescriber's      22        Q. So then at some point this
   23        office.                                        23   inquiry into the suspicious prescriber reaches
   24   BY MR. PIFKO:                                       24   some resolution. Agreed?

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                                                Page 166                                                Page 168
    1              MS. McENROE: Objection to form,           1        that states that because of the
    2        objection to scope.                             2        prescription of oxycodone, or whatever
    3              THE WITNESS: Yes.                         3        the drug may be, that effective at a
    4   BY MR. PIFKO:                                        4        certain date, Rite Aid will no longer
    5        Q. If Rite Aid finds that a                     5        dispense controlled substance
    6   prescriber is a suspicious prescriber after          6        prescriptions under their DEA number.
    7   finishing that investigation, what does it do?       7   BY MR. PIFKO:
    8              MS. McENROE: Objection to form,           8        Q. Do they have an appeal process or
    9        objection to scope.                             9   anything or is that decision final once it's
   10              THE WITNESS: We have the                 10   made?
   11        pictures come back and we have a file of       11             MS. McENROE: Objection to form,
   12        all the data that we've run. And at that       12        objection to scope.
   13        point, if there's -- if we believe that        13             THE WITNESS: Typically when we
   14        it is a suspicious prescriber, we have a       14        get to that point, they may call and ask
   15        committee of three pharmacists at our          15        for an appeal, but when we reach that
   16        corporate office that will sit down and        16        decision, that's a very serious decision
   17        look at the data, look at the pictures,        17        that we don't take lightly. So typically
   18        and make a determination if that               18        there is no appeal.
   19        prescriber is a book of business that we       19   BY MR. PIFKO:
   20        wanted or not.                                 20        Q. To your knowledge, has that
   21   BY MR. PIFKO:                                       21   happened ever?
   22        Q. So ultimately a decision could be           22             MS. McENROE: Objection to form,
   23   made not to service prescriptions from that         23        objection to scope.
   24   doctor; is that correct?                            24             THE WITNESS: Has what happened?
                                                Page 167                                                Page 169
    1             MS. McENROE: Objection to form,            1   BY MR. PIFKO:
    2        objection to scope.                             2         Q. You've made a determine to stop
    3             THE WITNESS: Controlled                    3   servicing business from a particular prescriber?
    4        substance prescriptions, yes.                   4             MS. McENROE: Objection to form,
    5   BY MR. PIFKO:                                        5         objection to scope.
    6        Q. To your knowledge, has that                  6             THE WITNESS: Yes, we have.
    7   happened on occasion?                                7   BY MR. PIFKO:
    8             MS. McENROE: Objection to form,            8         Q. Do you have a rough estimate
    9        objection to scope.                             9   about how many times it's happened in your
   10             THE WITNESS: It has.                      10   career?
   11   BY MR. PIFKO:                                       11             MS. McENROE: Objection to form,
   12        Q. And when Rite Aid makes a                   12         objection to scope.
   13   determination that they're not going to service a   13             THE WITNESS: Over 150 times.
   14   prescriber anymore because they deem that           14   BY MR. PIFKO:
   15   prescriber's practice to be sufficiently            15         Q. That number came rather quickly.
   16   suspicious, what would they do to implement that    16             You feel like that's a --
   17   decision?                                           17         A. Very close, yes.
   18             MS. McENROE: Objection to form,           18             MS. McENROE: Objection to form,
   19        objection to scope.                            19         objection to scope.
   20             THE WITNESS: Once the three               20   BY MR. PIFKO:
   21        pharmacists at the corporate office sign       21         Q. Okay. Do you keep statistics on
   22        off that it's a book of business that we       22   that somewhere?
   23        don't want for the controlled substance,       23             MS. McENROE: Objection to form,
   24        then I notify the prescriber in a letter       24         objection to scope.

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    1             THE WITNESS: We do.                        1        we had a tool that was through IQVIA that
    2   BY MR. PIFKO:                                        2        would provide industry data deidentified
    3        Q. That's a statistic that you have             3        for about 87 percent of retail
    4   reviewed in the recent past?                         4        pharmacists.
    5             MS. McENROE: Objection to form,            5   BY MR. PIFKO:
    6        objection to scope.                             6        Q. Okay. When you found that a
    7             THE WITNESS: I'm familiar with             7   store has been servicing a suspicious prescriber,
    8        it on a daily basis.                            8   have you ever undertaken anything to flag the
    9   BY MR. PIFKO:                                        9   orders from that pharmacy as suspicious?
   10        Q. That's something you check every            10             MS. McENROE: Objection to form,
   11   day?                                                11        objection to scope.
   12             MS. McENROE: Objection to form,           12             THE WITNESS: Could you repeat
   13        objection to scope.                            13        the question, please?
   14             THE WITNESS: Not every day, but           14   BY MR. PIFKO:
   15        at least monthly.                              15        Q. So if a store is filling
   16   BY MR. PIFKO:                                       16   prescriptions from a physician who's been
   17        Q. Can a doctor get reinstated after           17   determined to be a suspicious prescriber, does
   18   they've been terminated?                            18   Rite Aid undertake any effort to identify orders
   19             MS. McENROE: Objection to form,           19   from that store as suspicious as a result of them
   20        objection to scope.                            20   being from the suspicious prescriber?
   21             THE WITNESS: Yes. A doctor can            21             MS. McENROE: Objection to form.
   22        get reinstated.                                22             THE WITNESS: One more time, I'm
   23   BY MR. PIFKO:                                       23        sorry.
   24        Q. Is there a formal process that              24   BY MR. PIFKO:
                                                Page 171                                                 Page 173
    1   they have to follow?                                 1        Q. If a store is filling
    2             MS. McENROE: Objection to form,            2   prescriptions from a prescriber who's been
    3        objection to scope.                             3   determined to be a suspicious prescriber, does
    4             THE WITNESS: The doctor makes a            4   Rite Aid undertake any efforts to identify the
    5        request of -- from myself that they would       5   orders that come from that store -- during the
    6        like to be reinstated. And then I go in         6   time when that suspicious prescriber was sending
    7        and look at the prescriber's history.           7   patients to that store, does Rite Aid undertake
    8             So let's say it's been a year              8   any effort to identify those orders as
    9        since we shut the doctor off. What then         9   suspicious?
   10        happens is he requests to be reinstated a      10             MS. McENROE: Objection to form.
   11        year later. I would look at that               11             THE WITNESS: We do not.
   12        doctor's history for the year, his             12   BY MR. PIFKO:
   13        prescribing pattern for that year, to          13        Q. So Rite Aid does not use any of
   14        determine if it has changed from when we       14   the suspicious prescriber information that it may
   15        shut the person off.                           15   have collected in determining whether an order
   16   BY MR. PIFKO:                                       16   from any location is suspicious. Correct?
   17        Q. But you wouldn't have a history             17             MS. McENROE: Objection to form.
   18   on the substances, the controlled substances that   18             THE WITNESS: The order has
   19   you shut off because you weren't servicing that.    19        already been shipped to the store, so
   20   Correct?                                            20        there's -- that's not incorporated -- the
   21             MS. McENROE: Objection to form,           21        suspicious prescriber isn't incorporated
   22        objection to scope.                            22        in.
   23             THE WITNESS: That is not                  23   BY MR. PIFKO:
   24        correct. We have a tool -- from 2013 on,       24        Q. What about when an investigation

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    1   is going on, does Rite Aid undertake any effort      1   Exhibit 6.
    2   to look at the orders that are continuing to come    2             For the record, Exhibit 6 is a
    3   in as a result of prescriptions being placed         3   three-page document Bates labeled
    4   through that doctor?                                 4   Rite_Aid_OMDL_0013134 through 36.
    5               MS. McENROE: Objection to form.          5             Please take a moment to look at
    6               THE WITNESS: We continue to              6   that and let me know when you're done.
    7          monitor the prescriptions that would be       7         A. (Reviewing document.)
    8          coming in, but we do not consider that a      8         Q. Have you seen this document
    9          suspicious order to place.                    9   before?
   10   BY MR. PIFKO:                                       10         A. I don't believe so, no.
   11          Q. So I believe we -- I asked you a          11         Q. In reviewing this, do you know
   12   little bit earlier, do you remember discussing      12   what this document is?
   13   this doctor, Dr. Harper?
   14               MS. McENROE: Objection to form,
   15          objection to scope.
   16               THE WITNESS: I don't remember
   17          discussing the doctor with Sophia.
   18   BY MR. PIFKO:




                                                      ,
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   16              - - -
   17           (Deposition Exhibit No.
   18      Hart-30(b)(6)-6, Email dated 2011-02-01,
   19      Bates stamped Rite_Aid_OMDL_0013134
   20      through Rite_Aid_OMDL_0013136, was marked
   21      for identification.)
   22              - - -
   23   BY MR. PIFKO:
   24      Q. I'm handing you what's marked as

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                                          Page 178                                                Page 180
                                                      1         Prescribing Painkillers," was marked for
                                                      2         identification.)
                                                      3                  - - -
                                                      4   BY MR. PIFKO:
                                                      5         Q. I'm handing you what was
                                                      6   previously marked as Novack Exhibit 8 and I'm
                                                      7   marking here as Hart-30(b)(6) Exhibit 7.
                                                      8             Please take a moment to review
                                                      9   this. Note it's double sided.
                                                     10             Let me know when you're done.
                                                     11             MS. McENROE: I'm also going to
                                                     12         make another scope objection for the
                                                     13         record.
                                                     14             THE WITNESS: (Reviewing
                                                     15         document.)
                                                     16             I'm done.
                                                     17   BY MR. PIFKO:
                                                     18         Q. Have you seen this before?
                                                     19         A. Yes.
                                                     20         Q. When was the last time you saw
                                                     21   this?
                                                     22         A. Within the past several days.
                                                     23         Q. This is something you reviewed in
                                                     24   preparing for this deposition?
                                          Page 179                                                Page 181
                                                      1         A. Yes.
                                                      2         Q. Do you see the first sentence
                                                      3   here above the -- the headline reads, "Akron
                                                      4   Doctor Pleads Guilty to Illegally Prescribing
                                                      5   Painkillers."
                                                      6              Do you see that?
                                                      7         A. I do.
                                                      8         Q. It's dated October 20, 2014.
                                                      9              Do you see that?
                                                     10         A. I do.
                                                     11         Q. Do you see the first sentence
                                                     12   here, it says, "An Akron physician pleaded guilty
                                                     13   to illegally prescribing hundreds of thousands of
                                                     14   doses of painkillers and other pills to customers
                                                     15   for no legitimate medical purpose, even after he
                                                     16   learned some customers had died from
                                                     17   overdose-related deaths, law enforcement
                                                     18   officials said."
                                                     19              Do you see that?
                                                     20         A. I do.
   21           - - -                                21         Q. Did Rite Aid institute efforts to
   22        (Deposition Exhibit No.                 22   shut this particular doctor down from its --
   23    Hart-30(b)(6)-7, Press Release entitled     23   serving his customers?
   24    "Akron Doctor Pleads Guilty to Illegally    24              MS. McENROE: Objection to form,

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    1         objection to scope.                           1         I don't see what paragraph.
    2              THE WITNESS: I don't remember.           2              MR. PIFKO: It's paragraph 1. It
    3                  - - -                                3         continues from the bottom of the first
    4              (Deposition Exhibit No.                  4         page to the top of the second page.
    5         Hart-30(b)(6)-8, Indictment, Case No.:        5              MS. McENROE: And objection to
    6         5:14CR096, was marked for                     6         the scope as well.
    7         identification.)                              7              THE WITNESS: I see hydrocodone.
    8                  - - -                                8   BY MR. PIFKO:
    9   BY MR. PIFKO:                                       9         Q. And specifically it says that Dr.
   10         Q. I'm handing you what was                  10   Harper and some of his colleagues, who they refer
   11   previously marked as Novack Exhibit 7 and I've     11   to as the Harper Drug Trafficking Organization,
   12   also marked here as Hart-30(b)(6) Exhibit 8. For   12   it says, starting on the first page that they
   13   the record, it's an indictment of Dr. Harper.      13   "agreed to illegally distribute hundreds of
   14              MS. McENROE: For the record,            14   thousands of doses of prescription painkillers to
   15         again, objection as to scope. And can        15   customers located in the Northern District of
   16         you tie this to any of the 30(b)(6)          16   Ohio and elsewhere. They did so using ADOLPH
   17         topics? Because the witness already          17   HARPER, JR.'S 'medical' offices located in Akron,
   18         said --                                      18   Ohio, by issuing drug orders purporting to be
   19   BY MR. PIFKO:                                      19   'prescriptions' for Schedule II controlled
   20         Q. It's dated March 25, 2014.                20   substances, primarily oxycodone, oxymorphone,
   21              Please take a moment to review          21   methadone, and amphetamines, Schedule III
   22   this document and let me know when you're done.    22   controlled substances, primarily buprenorphine
   23              MS. McENROE: I'm going to take          23   and hydrocodone, and Schedule IV controlled
   24         that as a no for purposes of the record.     24   substances." It continues on.
                                               Page 183                                                 Page 185
    1             MR. PIFKO: I'm disagreeing with           1             Do you see that?
    2        your characterization. You can object to       2             MS. McENROE: Objection to form,
    3        scope. And I'm not going to answer             3        objection to scope.
    4        questions from you.                            4             THE WITNESS: I do.
    5             THE WITNESS: (Reviewing                   5   BY MR. PIFKO:
    6        document.)                                     6        Q. So you agree that part of this
    7   BY MR. PIFKO:                                       7   indictment concerns Schedule III substances?
    8        Q. As an initial matter, have you              8             MS. McENROE: Objection to form,
    9   seen this document before?                          9        objection to scope.
   10        A. I have.                                    10             THE WITNESS: I do.
   11        Q. When did you see this?                     11   BY MR. PIFKO:
   12        A. The past several days.                     12        Q. And those were substances that
   13        Q. Is this something you reviewed in          13   Rite Aid self-distributed during this time
   14   connection with preparing for this 30(b)(6)        14   period. Agree?
   15   deposition?                                        15             MS. McENROE: Objection to scope.
   16        A. It is.                                     16             THE WITNESS: The hydrocodone was
   17        Q. You can feel free to look at it            17        distributed by Rite Aid.
   18   as much as you want to, but I want to just ask     18   BY MR. PIFKO:
   19   you, on the second page here, it notes that Dr.    19        Q. Did Rite Aid ever identify any
   20   Harper had issues with Schedule III substances.    20   orders from the pharmacies that serviced Dr.
   21             Do you see that? At the top of           21   Harper's customers as suspicious?
   22   the second page.                                   22             MS. McENROE: Objection to form.
   23             MS. McENROE: Objection to form.          23             THE WITNESS: Could you repeat
   24        Where are you looking, Mark? I'm sorry,       24        the question? I'm sorry.

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                                               Page 186                                                 Page 188
    1   BY MR. PIFKO:                                       1         Hart-30(b)(6)-9, Press Release, "Rite Aid
    2        Q. Yeah.                                       2         Corporation and Subsidiaries Agree to Pay
    3             Did Rite Aid ever identify any            3         $5 Million in Civil Penalties to Resolve
    4   orders from the pharmacies that serviced Dr.        4         Violations in Eight States of the
    5   Harper's customers as suspicious?                   5         Controlled Substances Act," 2 pages, was
    6             MS. McENROE: Objection to form.           6         marked for identification.)
    7             THE WITNESS: To the best of my            7                  - - -
    8        knowledge, no.                                 8   BY MR. PIFKO:
    9   BY MR. PIFKO:                                       9         Q. Take a moment to review that.
   10        Q. Do you know if Rite Aid was aware          10              If you recall, there was a brief
   11   of this indictment on or around the time that it   11   discussion of this yesterday.
   12   occurred?                                          12              MS. McENROE: Again, for the
   13             MS. McENROE: Object to the form,         13         record, objection as to scope as to the
   14        objection to scope.                           14         line of questioning pertaining to this
   15             THE WITNESS: I do not know.              15         exhibit as outside the scope of the
   16   BY MR. PIFKO:                                      16         30(b)(6) topics.
   17        Q. Does Rite Aid track whether any            17              THE WITNESS: (Reviewing
   18   prescribers and -- who have customers that come    18         document.)
   19   to Rite Aid stores are indicted?                   19   BY MR. PIFKO:
   20             MS. McENROE: Objection to form,          20         Q. Have you seen this document
   21        objection to scope.                           21   before?
   22             THE WITNESS: We do not.                  22         A. I have.
   23   BY MR. PIFKO:                                      23         Q. When was the last time you saw
   24        Q. Does Rite Aid track whether                24   this?
                                               Page 187                                                 Page 189
    1   prescribers have lost their licenses?               1        A. Within the last several days.
    2            MS. McENROE: Objection to form,            2        Q. This is a document that you
    3        objection to scope.                            3   reviewed in preparing for your 30(b)(6)
    4            THE WITNESS: We have a database            4   deposition?
    5        in our NextGen system that updates the         5        A. Yes.
    6        prescriber file on a daily basis. Once a       6        Q. Can you tell me what this is?
    7        DEA license becomes invalid, that license      7             MS. McENROE: Objection to form,
    8        becomes invalid in our system and no           8        objection to scope.
    9        prescriptions can be dispensed under that      9             THE WITNESS: It's an
   10        prescriber's DEA number. It's a national      10        announcement of a settlement agreement
   11        database that's out there.                    11        between Rite Aid and the Drug Enforcement
   12   BY MR. PIFKO:                                      12        Administration from 2009.
   13        Q. How long has that been in place?           13   BY MR. PIFKO:
   14            MS. McENROE: Objection to scope.          14        Q. Does this refresh your
   15            THE WITNESS: I'm going to say             15   recollection about when Rite Aid instituted the
   16        2000 -- late 2000s, early 2000 -- late        16   system that it uses to check whether prescribers'
   17        2000s, like '9, '10, '11. That's just         17   DEA licenses are invalid?
   18        speculation. It could have been there         18             MS. McENROE: Objection to form,
   19        before that, but...                           19        objection to scope.
   20   BY MR. PIFKO:                                      20             THE WITNESS: I don't know that
   21        Q. I'm handing you what's marked as           21        that coincides. I couldn't say that for
   22   Hart-30(b)(6) Exhibit 9.                           22        sure.
   23                - - -                                 23   BY MR. PIFKO:
   24            (Deposition Exhibit No.                   24        Q. You agree this happened in 2009?

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                                               Page 190                                                 Page 192
    1   It says here -- it's dated -- this press release    1             THE WITNESS: I see that.
    2   is dated January 12, 2009. Do you agree?            2   BY MR. PIFKO:
    3              MS. McENROE: Objection to form,          3        Q. Do you agree that that was part
    4         objection to scope.                           4   of the scope of the settlement agreement?
    5              THE WITNESS: I do.                       5             MS. McENROE: Objection to form,
    6   BY MR. PIFKO:                                       6        objection to scope.
    7         Q. And you testified that you                 7             THE WITNESS: I do.
    8   believe that Rite Aid instituted its efforts to     8   BY MR. PIFKO:
    9   check prescriber licenses sometime in 2009, '10     9        Q. It also says that, "Rite Aid
   10   or '11; is that correct?                           10   failed to notify the DEA in a timely manner of
   11              MS. McENROE: Objection to form.         11   significant thefts and losses of controlled
   12              THE WITNESS: I said that was --         12   substances, thus permitting the diversion of
   13         I will correct the record then.              13   controlled substances to continue and undermining
   14              There was a system in place to          14   DEA's ability to investigate such thefts...or
   15         check licenses prior to that. There was      15   losses."
   16         enhancement to the system as well.           16             Do you see that?
   17   BY MR. PIFKO:                                      17             MS. McENROE: Objection to form,
   18         Q. The enhancement was sometime in           18        objection to scope.
   19   2009, '10 or '11?                                  19             THE WITNESS: I do.
   20              MS. McENROE: Objection to form.         20   BY MR. PIFKO:
   21              THE WITNESS: Again, I don't know        21        Q. Do you agree that that was part
   22         the date line of that. I don't have that     22   of the 2009 settlement?
   23         knowledge.                                   23             MS. McENROE: Objection to form,
   24   BY MR. PIFKO:                                      24        objection to scope.
                                               Page 191                                                 Page 193
    1         Q. Was that made as a result of this          1              THE WITNESS: I do.
    2   settlement?                                         2   BY MR. PIFKO:
    3             MS. McENROE: Objection to form,           3         Q. It also says, "Rite Aid failed to
    4         objection to scope.                           4   properly execute DEA forms used to ensure that
    5             THE WITNESS: It was not.                  5   the amount of Schedule II drugs ordered by Rite
    6   BY MR. PIFKO:                                       6   Aid were actually received."
    7         Q. There are some bullet points here          7              Do you see that?
    8   about halfway down the page.                        8              MS. McENROE: Objection to form,
    9             Do you see those?                         9         objection to scope.
   10         A. I do.                                     10              THE WITNESS: I do.
   11         Q. It talks about some of the                11   BY MR. PIFKO:
   12   alleged violations that occurred in connection     12         Q. Was that part of the settlement
   13   with this settlement.                              13   as well?
   14             Do you see that?                         14              MS. McENROE: Objection to form,
   15         A. I do.                                     15         objection to scope.
   16             MS. McENROE: Objection.                  16              THE WITNESS: That was part of
   17   BY MR. PIFKO:                                      17         the settlement.
   18         Q. One of them is that "Rite Aid             18              It should be noted that the Rite
   19   knowingly filled prescriptions for controlled      19         Aid distribution center in Perryman was
   20   substances that were not issued for a legitimate   20         not included or mentioned in the
   21   medical purpose pursuant to a valid                21         settlement agreement.
   22   physician-patient relationship."                   22   BY MR. PIFKO:
   23             Do you see that?                         23         Q. It says here in the paragraph
   24             MS. McENROE: Objection to scope.         24   after those bullet points, part of the last

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    1   sentence, that accountability audits reflected "a    1         question?
    2   pattern of non-compliance with the requirements      2   BY MR. PIFKO:
    3   of the Controlled Substances Act and federal         3         Q. Yeah.
    4   regulations that lead to the diversion of            4             Like, for example, the settlement
    5   controlled substances."                              5   concerned Rite Aid knowingly filling
    6              Do you see that?                          6   prescriptions for controlled substances that were
    7              MS. McENROE: Objection to form,           7   not issued for a legitimate medical purpose
    8         objection to scope.                            8   pursuant to a valid physician-patient
    9              THE WITNESS: You lost me on that          9   relationship.
   10         one.                                          10             Do you see that?
   11   BY MR. PIFKO:                                       11             MS. McENROE: Objection to form,
   12         Q. It's highlighted on the screen             12         objection to scope.
   13   for you.                                            13             THE WITNESS: I do.
   14         A. Oh, okay. Sorry.                           14   BY MR. PIFKO:
   15              I do.                                    15         Q. Did Rite Aid identify any
   16         Q. Do you agree that that was part            16   suspicious orders as a result of prescriptions
   17   of the settlement?                                  17   that were filled that were not issued for a
   18              MS. McENROE: Objection to form,          18   legitimate medical purpose?
   19         objection to scope.                           19             MS. McENROE: Objection to form.
   20              THE WITNESS: It was.                     20             THE WITNESS: We did not.
   21   BY MR. PIFKO:                                       21             MR. PIFKO: All right. We can
   22         Q. There's a quote here from the DEA          22         take a break.
   23   acting administrator, two paragraphs down, second   23             THE WITNESS: Wait.
   24   to last paragraph on the first page there.          24             THE VIDEOGRAPHER: Going off the
                                                Page 195                                                 Page 197
    1              It says, at the bottom of that            1       record at 2 --
    2   paragraph, "Our nation's pharmacies must play a      2            THE WITNESS: Wait, wait. May I
    3   major role in the fight against drug abuse, so       3       make a comment also, though?
    4   that together we can protect public health and       4            As part of the press release, it
    5   keep our communities safe."                          5       does state that "The settlement agreement
    6              Do you see that?                          6       is neither an admission of liability by
    7              MS. McENROE: Objection to form,           7       Rite Aid nor a concession by the United
    8         objection to scope.                            8       States that its claims" were not founded.
    9              THE WITNESS: I do.                        9            Thank you.
   10   BY MR. PIFKO:                                       10            THE VIDEOGRAPHER: Going off the
   11         Q. Do you agree with that statement?          11       record at 2:08 p.m.
   12              MS. McENROE: Objection to form,          12                - - -
   13         objection to scope.                           13            (A recess was taken from
   14              THE WITNESS: I do.                       14       2:08 p.m. to 2:23 p.m.)
   15              MS. McENROE: Mark, when you get          15                - - -
   16         a chance, we've been going about an hour      16            THE VIDEOGRAPHER: Going back on
   17         for a break.                                  17       the record at 2:23 p.m.
   18              MR. PIFKO: Yeah.                         18                - - -
   19   BY MR. PIFKO:                                       19            (Deposition Exhibit No.
   20         Q. Did Rite Aid identify any                  20       Hart-30(b)(6)-10, Order of the State
   21   suspicious orders as a result of any of the         21       Board of Pharmacy, Docket Number
   22   allegations in connection with the settlement?      22       D-110127-163, was marked for
   23              MS. McENROE: Objection to form.          23       identification.)
   24              THE WITNESS: Can you repeat the          24                - - -

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    1   BY MR. PIFKO:                                           1   does work for Rite Aid?
    2        Q. I'm handing you what's marked as                2         A. Yes.
    3   Exhibit 10.                                             3         Q. When one serves on the Board of
    4             For the record, this is an order              4   Pharmacy, is that concurrent with him working for
    5   from the Ohio State Board of Pharmacy. The              5   Rite Aid?
    6   document itself is four pages. Take a moment to         6         A. Yes.
    7   review it. Let me know when you're ready.               7         Q. So he still holds that -- does
    8             The part I consider to be the                 8   this Kevin Mitchell still work for Rite Aid?
    9   document, just so you can understand, is this           9         A. Yes. This Kevin Mitchell left
   10   docket number D-110127-163, concerning Marcus --       10   from Rite Aid, went to work for the board, and
   11   or Brian Marcus Kins.                                  11   came back to Rite Aid.
   12             MS. McENROE: Starting in the                 12         Q. Okay.
   13        middle of the first page?                         13         A. So he is currently a pharmacist
   14             MR. PIFKO: Yeah.                             14   for Rite Aid.
   15             MS. McENROE: And then going                  15         Q. But he doesn't currently serve on
   16        until where, Mark?                                16   the Board of Pharmacy?
   17             MR. PIFKO: It continues onto the             17         A. No. His term was up.
   18        last page, but only the top quarter of            18         Q. At the time that he was sitting
   19        the last page.                                    19   on the Board of Pharmacy here, did he still work
   20             MS. McENROE: Where it says                   20   for Rite Aid?
   21        11:30 a m.?                                       21         A. I don't -- I'm going to say yes,
   22             MR. PIFKO: Yes.                              22   but again, my recollection could be wrong. But
   23             MS. McENROE: For the record, I'm             23   it looks around the time frame, yes.
   24        going to object to this document and the          24         Q. Does anyone else who is a member
                                                  Page 199                                                  Page 201
    1       line of questioning that will be related            1   of the board reflected here in that section under
    2       to it as beyond the scope and not being             2   introduction work for Rite Aid?
    3       tied to one of the topics.                          3             MS. McENROE: Objection, scope.
    4             MR. PIFKO: You haven't heard the              4             THE WITNESS: No.
    5       questions yet.                                      5   BY MR. PIFKO:
    6             MS. McENROE: I know. Just in                  6        Q. Do you know who Michael Mone is?
    7       terms of the document.                              7        A. Yes.
    8             THE WITNESS: (Reviewing                       8        Q. Who is he?
    9       document.)                                          9        A. Michael Mone works for Cardinal.
   10             Okay.                                        10        Q. Do you know what he does for
   11   BY MR. PIFKO:                                          11   Cardinal?
   12       Q. Have you seen this before?                      12        A. He is an attorney and a
   13       A. I have not.                                     13   pharmacist and does regulatory affairs.
   14       Q. It mentions here, as an aside,                  14        Q. Do you know if he was employed by
   15   Kevin Mitchell here as being a member of the           15   Cardinal at the time that he sat on the Board of
   16   board of the Ohio Board of Pharmacy.                   16   Pharmacy here?
   17             I assume that's not the same                 17             MS. McENROE: Objection to scope.
   18   Kevin Mitchell who works at Rite Aid?                  18             THE WITNESS: I don't know his
   19       A. Okay.                                           19        employment.
   20       Q. Is it?                                          20   BY MR. PIFKO:
   21       A. This Kevin Mitchell is a                        21        Q. How do you know who Mr. Mone is?
   22   pharmacist for Rite Aid in Ohio, not the Kevin         22        A. I am on the Pennsylvania State
   23   Mitchell that's involved in this case.                 23   Board of Pharmacy here in the state, and I
   24       Q. Okay. So this Kevin Mitchell                    24   interact with Mr. Mone on a routine basis at NABP

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    1   meetings, National Association of Boards of          1        objection to scope.
    2   Pharmacy meetings, or district -- NABP district      2             THE WITNESS: Not off the top of
    3   meetings and occasionally at NACDS meetings.         3        my head, no.
    4        Q. In connection with those kind of             4   BY MR. PIFKO:
    5   meetings, do you meet with any other distributors    5        Q. Do you know if any of the
    6   of pharmaceutical products?                          6   defendants in this litigation are members of the
    7            MS. McENROE: Objection to form,             7   NACDS?
    8        objection to scope.                             8             MS. McENROE: Objection to form,
    9            THE WITNESS: Not really. And                9        objection to scope.
   10        Michael and I are there as members of the      10             THE WITNESS: I would say yes.
   11        Board of Pharmacy. We are not meeting on       11   BY MR. PIFKO:
   12        behalf of our jobs.                            12        Q. What's the basis for saying that?
   13   BY MR. PIFKO:                                       13             MS. McENROE: Objection to scope.
   14        Q. So, to your knowledge, you don't            14             THE WITNESS: Reading the
   15   meet with, for example, anyone who works for        15        documentation as far as the case and
   16   AmeriSource Bergen at those meetings?               16        industry newsletters and things like
   17            MS. McENROE: Objection, form,              17        that.
   18        objection to scope.                            18   BY MR. PIFKO:
   19            THE WITNESS: There could be                19        Q. When you say documentation for
   20        someone at one of those meetings. I            20   the case, you've seen documents that have a list
   21        don't know a lot of people from                21   of defendants on it, like the interrogatory
   22        AmeriSource Bergen since we don't -- Rite      22   responses, things like that?
   23        Aid doesn't do business with them.             23        A. Yeah. Or there could be
   24   BY MR. PIFKO:                                       24   something published in like a Pharmacy Times or
                                                Page 203                                                Page 205
    1        Q. How about McKesson, is anyone                1   something like that.
    2   from McKesson at those meeting?                      2        Q. So you're talking about -- to the
    3             MS. McENROE: Objection to form,            3   extent there's been media coverage of the case
    4        objection to scope.                             4   and you see who's involved, that's what you're
    5             THE WITNESS: Occasionally, yes.            5   talking about?
    6   BY MR. PIFKO:                                        6             MS. McENROE: Objection to form,
    7        Q. Who from McKesson attends those              7        objection to scope.
    8   meetings?                                            8             THE WITNESS: Yes.
    9             MS. McENROE: Objection to form,            9   BY MR. PIFKO:
   10        objection to scope.                            10        Q. Okay. Turning back to this
   11             THE WITNESS: I don't remember             11   particular Exhibit 10, this incident here, are
   12        who from McKesson. I apologize.                12   you familiar with this pharmacist, Mr. Kins?
   13   BY MR. PIFKO:                                       13             MS. McENROE: Objection to form.
   14        Q. How about from any of the                   14        Objection to form, objection to scope.
   15   manufacturers, do you know if there are people at   15             THE WITNESS: I am not.
   16   those meetings who work for drug manufacturers?     16   BY MR. PIFKO:
   17             MS. McENROE: Objection to form,           17        Q. If you turn to the second page,
   18        objection to scope.                            18   there's a heading "Findings of Fact."
   19             THE WITNESS: At the NACDS                 19             Do you see that?
   20        meetings? There are drug manufacturers         20        A. I do.
   21        that are members of NACDS, yes.                21        Q. There's numbered paragraphs there
   22   BY MR. PIFKO:                                       22   with parentheses.
   23        Q. Do you know which ones?                     23             Do you see that? Like 1, 2?
   24             MS. McENROE: Objection to form,           24        A. Yes.

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    1         Q. Paragraph 1, towards the bottom,            1        Q. We talked about -- I forget the
    2   it says that Mr. Kins was the Responsible            2   term you used now -- the front of the store?
    3   Pharmacist at Rite Aid Pharmacy #4764 in             3        A. Front end?
    4   Broadview Heights, Ohio.                             4        Q. Front end and the pharmacy.
    5             Do you see that?                           5   Right?
    6             MS. McENROE: Objection to scope.           6        A. Right.
    7             THE WITNESS: I do.                         7        Q. So those operations -- there's
    8   BY MR. PIFKO:                                        8   some degree of separation between those
    9         Q. Do you know what the term                   9   operations at a store. Correct?
   10   "responsible pharmacist" means?                     10            MS. McENROE: Objection to form,
   11             MS. McENROE: Objection to scope.          11        objection to scope.
   12             THE WITNESS: I do.                        12            THE WITNESS: That is correct.
   13   BY MR. PIFKO:                                       13   BY MR. PIFKO:
   14         Q. What does that mean?                       14        Q. Okay. And somebody at the
   15         A. It means that is the pharmacist            15   pharmacy is responsible for the profit and loss
   16   in charge, the head pharmacist for the store.       16   operations of the pharmacy. Correct?
   17         Q. Okay. And that's what I was                17            MS. McENROE: Objection to form,
   18   going to ask you, is -- so there's a hierarchy of   18        objection to scope.
   19   the pharmacists who work at any particular store?   19            THE WITNESS: That is correct.
   20             MS. McENROE: Objection to form,           20   BY MR. PIFKO:
   21         objection to scope.                           21        Q. And is that the pharmacist in
   22             THE WITNESS: In -- there is a             22   charge?
   23         pharmacist that's in charge or the            23            MS. McENROE: Objection to scope.
   24         pharmacist that's responsible for the         24            THE WITNESS: That is correct.
                                                Page 207                                                 Page 209
    1         recordkeeping. And then there could be a       1   BY MR. PIFKO:
    2         staff pharmacist or a floater pharmacist       2         Q. So in this particular case, Mr.
    3         that may work in the store.                    3   Kins was in charge of the profit and loss of this
    4   BY MR. PIFKO:                                        4   particular Rite Aid, 4764; is that correct?
    5         Q. And so you just alluded to some             5             MS. McENROE: Objection to form,
    6   of it, but the responsibilities of the pharmacist    6         objection to scope.
    7   in charge include recordkeeping and what else?       7             THE WITNESS: That is correct.
    8              MS. McENROE: Objection to form,           8   BY MR. PIFKO:
    9         objection to scope.                            9         Q. It says here under the second
   10              THE WITNESS: Typically the               10   paragraph of "Findings of Fact" that Mr. Kins "is
   11         pharmacist in charge is of staffing and       11   addicted to or abusing drugs."
   12         maintenance of prescriptions and that.        12             Do you see that?
   13   BY MR. PIFKO:                                       13         A. I do.
   14         Q. I believe in Sophia Lai's                  14         Q. Do you have any reason to dispute
   15   deposition it was discussed that she had profit     15   that finding?
   16   and loss responsibility for the pharmacy            16             MS. McENROE: Objection to form,
   17   operations at her pharmacy at one point.            17         objection to scope.
   18              Does the pharmacist in charge            18             THE WITNESS: I do not.
   19   have that kind of responsibility as well?           19   BY MR. PIFKO:
   20              MS. McENROE: Objection to form,          20         Q. If you go to the next page, well,
   21         objection to scope.                           21   starting at the bottom of the second page and
   22              THE WITNESS: Can you repeat the          22   continuing to the third page, it says, "Brian
   23         question?                                     23   Marcus Kins has admitted to Board agents that he
   24   BY MR. PIFKO:                                       24   is addicted to controlled substances; that Brian

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    1   Marcus Kins has stolen controlled substances from
    2   his employer for personal abuse;" and "that Brian
    3   Marcus Kins altered prescriptions to obtain
    4   controlled substances for his abuse and to sell."
    5             Do you see that?
    6        A. I do.
    7        Q. Do you have any reason to dispute
    8   those findings of fact in here?
    9             MS. McENROE: Objection to form,
   10        objection to scope.
   11             THE WITNESS: I do not.
   12   BY MR. PIFKO:
   13        Q. Did Rite Aid ever report any
   14   suspicious orders from store Rite Aid 4764 while
   15   Mr. Kins was the responsible pharmacist?
   16             MS. McENROE: Objection to form.
   17             THE WITNESS: We did not report
   18        any suspicious orders.
   19   BY MR. PIFKO:
   20        Q. Does Rite Aid have a process of
   21   disciplining an employee or terminating them when
   22   they have a Board of Pharmacy action brought
   23   against them?
   24             MS. McENROE: Objection to form,
                                                Page 211                                                 Page 213
    1        objection to scope.                             1             THE WITNESS: That would be part
    2             THE WITNESS: Any time an                   2        of the asset protection's investigation
    3        employee diverts controlled substances,         3        into the theft.
    4        they would be terminated and Rite Aid           4   BY MR. PIFKO:
    5        would turn that individual into the state       5        Q. And what would be the outcome if
    6        Board of Pharmacy.                              6   they found that there was theft?
    7   BY MR. PIFKO:                                        7             MS. McENROE: Objection to form,
    8        Q. Other than terminating them, is              8        objection to scope.
    9   there any other investigation with respect to the    9             THE WITNESS: If there was theft
   10   order history at that store that would occur in     10        and the loss of drugs, the loss would be
   11   connection with a finding that a pharmacist in      11        reported to the Ohio Board of Pharmacy
   12   charge or any other pharmacist diverted             12        and to the Drug Enforcement
   13   controlled substances?                              13        Administration.
   14             MS. McENROE: Objection to form,           14   BY MR. PIFKO:
   15        objection to scope.                            15        Q. But Rite Aid wouldn't make any
   16             THE WITNESS: Rite Aid would               16   reports concerning suspicious orders. Correct?
   17        conduct an accountability of all of the        17             MS. McENROE: Objection to form,
   18        drugs that entered into the pharmacy           18        objection to scope.
   19        in -- or dispensed to determine if there       19             THE WITNESS: We would not make a
   20        was a loss of controlled substances.           20        report of a suspicious order.
   21   BY MR. PIFKO:                                       21   BY MR. PIFKO:
   22        Q. By loss, you mean theft?                    22        Q. Would Rite Aid make any
   23        A. Theft.                                      23   adjustments to its auto replenishment system if
   24        Q. What if a pharmacist doesn't                24   it knew that, for example, in this case, that the

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                                                                           Review
                                               Page 214                                                Page 216
    1   pharmacist was stealing prescriptions for           1          Q.   Have you seen this before?
    2   personal use or selling them to others?             2          A.   I have not.
    3             MS. McENROE: Objection to form.           3          Q.   Do you know who Henry Kozik is?
    4             THE WITNESS: We would not adjust          4          A.   A pharmacist, yes.
    5        the auto replenishment.                        5          Q.   Someone who was employed by Rite
    6   BY MR. PIFKO:                                       6   Aid?
    7        Q. So when it's conducting its                 7               MS. McENROE: Objection to scope.
    8   analysis of                   and the like, it's    8               THE WITNESS: Based on the order,
    9   including that conduct as well, potentially.        9        yes.
   10   Correct?                                           10   BY MR. PIFKO:
   11             MS. McENROE: Objection to form.          11        Q. The order has a number of
   12             THE WITNESS: It would be                 12   findings of fact concerning thefts committed by
   13        including the prescriptions that were         13   Mr. Kozik on various dates, specifically
   14        fraudulently dispensed, because they          14   identifying various thefts of product that he
   15        would be through the system. So yes.          15   made.
   16   BY MR. PIFKO:                                      16             Do you see that?
   17        Q. I'm handing you what's been                17             MS. McENROE: Objection to form,
   18   marked as Hart-30(b)(6) Exhibit 11.                18        objection to scope.
   19                 - - -                                19             THE WITNESS: I do.
   20             (Deposition Exhibit No.                  20   BY MR. PIFKO:
   21        Hart-30(b)(6)-11, Order of the State          21        Q. Paragraph 5 also says -- it's on
   22        Board of Pharmacy Docket Number               22   the third page.
   23        D-100621-134, was marked for                  23             Are you there?
   24        identification.)                              24        A. I'm fine.
                                               Page 215                                                Page 217
    1                 - - -                                 1         Q. It says, "Henry F. Kozik did, on
    2   BY MR. PIFKO:                                       2   or about June 2, 2007, knowingly sell a
    3        Q. It's another order of the state             3   controlled substance when the conduct was not in
    4   Board of Pharmacy. This one's five pages.           4   accordance with Chapters 3719., 4729., and 4731.
    5             Direct your attention to the one          5   of the Ohio Revised Code, to wit: Henry F. Kozik
    6   that begins on the bottom of the first page         6   gave a female at least 33 hydrocodone/APAP 5/500
    7   concerning Henry Kozik, docket number               7   tablets and at least 43 tablets of
    8   D-100621-134.                                       8   hydrocodone/APAP 7.5/750 without a valid
    9             Take a moment to review that and          9   prescription from a prescriber and not for a
   10   let me know when you're done.                      10   legitimate medical purpose."
   11             MS. McENROE: For the record, I'm         11             Do you see that?
   12        going to object to the use of this            12             MS. McENROE: Objection to scope.
   13        document as being outside the scope of        13             THE WITNESS: I do.
   14        the 30(b)(6) for this deposition.             14   BY MR. PIFKO:
   15             THE WITNESS: I have a question.          15         Q. To your knowledge, did Rite Aid
   16             Here it makes note under the             16   report any suspicious orders from the pharmacies
   17        State's Exhibit Number 3, "Rite Aid           17   where Mr. Kozik worked --
   18         Corporation Letter of Explanation."          18             MS. McENROE: Objection to form.
   19             Is that available to review?             19   BY MR. PIFKO:
   20   BY MR. PIFKO:                                      20         Q. -- as a result of these
   21        Q. I don't have a copy of that with           21   incidents?
   22   me. Maybe Kevin Mitchell can get it for us.        22             MS. McENROE: Objection to form.
   23             Are you ready?                           23             THE WITNESS: We did not.
   24        A. I am ready.                                24   BY MR. PIFKO:

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                                                                           Review
                                               Page 218                                                 Page 220
    1        Q. Do you know if Rite Aid conducted           1             THE WITNESS: They did not.
    2   an investigation into this conduct?                 2   BY MR. PIFKO:
    3             MS. McENROE: Objection to scope,          3        Q. Did Rite Aid have any policy
    4        objection to form.                             4   whereby if a pharmacist conducted such an
    5             THE WITNESS: An investigation             5   investigation, they needed to report that back up
    6        would have been completed by our asset         6   to the distribution center?
    7        protection team.                               7             MS. McENROE: Objection to form.
    8   BY MR. PIFKO:                                       8             THE WITNESS: The pharmacist, if
    9        Q. What's the basis for you                    9        they did an investigation, would report
   10   believing that such an investigation would have    10        that to their pharmacy district manager
   11   occurred?                                          11        or their asset protection district
   12             MS. McENROE: Objection to scope.         12        manager, not to the distribution center.
   13             THE WITNESS: Any theft of                13   BY MR. PIFKO:
   14        controlled substances results in an asset     14        Q. Would anybody in that chain
   15        protection investigation.                     15   ultimately provide information that there was a
   16   BY MR. PIFKO:                                      16   potential red flag to the distribution center?
   17        Q. And if Mr. Kozik was disciplined           17             MS. McENROE: Objection to form.
   18   by the Board of Pharmacy, Rite Aid would know      18             THE WITNESS: Typically, no.
   19   about that?                                        19   BY MR. PIFKO:
   20             MS. McENROE: Objection to form,          20        Q. I'm handing you a document that
   21        objection to scope.                           21   was previously marked in Mr. Belli's deposition
   22             THE WITNESS: Yes, we would know.         22   as Exhibit 15. And I have marked it as
   23        We have a system that we use to verify        23   Exhibit 12 to Rite Aid's 30(b)(6) deposition.
   24        our associates and their licenses to make     24                 - - -
                                               Page 219                                                 Page 221
    1         sure that they remain valid.                  1          (Deposition Exhibit No.
    2   BY MR. PIFKO:                                       2      Hart-30(b)(6)-12, Project Initiation for
    3         Q. As we discussed with respect to            3      504 Suspicious Order Monitoring, Bates
    4   the prior Board of Pharmacy order, with respect     4      stamped Rite_Aid_OMDL_0040184 through
    5   to paragraph 5 here, there would not have been      5      Rite_Aid_OMDL_0040198, was marked for
    6   any adjustments to Rite Aid's auto replenishment    6      identification.)
    7   system as a result of this sale to a female of      7               - - -
    8   certain hydrocodone tablets without a valid         8   BY MR. PIFKO:
    9   prescription.
   10              Do you agree?
   11              MS. McENROE: Objection to form,
   12         objection to scope.
   13              THE WITNESS: There would be no
   14         revision.
   15   BY MR. PIFKO:
   16         Q. If a pharmacist conducts any due
   17   diligence of any suspected red flags, does -- at
   18   the time when Rite Aid was self-distributing
   19   Schedule III controlled substances, did the
   20   distribution center who would sell to that
   21   pharmacy have any visibility into the
   22   investigation being conducted by the pharmacist?
   23              MS. McENROE: Objection.
   24         Objection to form.

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                                               7                 - - -
                                               8            (Deposition Exhibit No.
                                               9        Hart-30(b)(6)-13, Email chain, top one
                                              10        dated 2013-08-07, Bates stamped
                                              11        Rite_Aid_OMDL_0024599 and
                                              12        Rite_Aid_OMDL_0024600, was marked for
                                              13        identification.)
                                              14                 - - -
                                              15   BY MR. PIFKO:
                                              16        Q. I'm handing you another exhibit
                                              17   concerning this project. You can keep that one
                                              18   with you as well.
                                              19            It's marked as Exhibit
                                              20   Hart-30(b)(6)-13.
                                              21            For the record, Exhibit 13 is
                                              22   Bates labeled Rite_Aid_OMDL_0024599, and it has
                                              23   an attachment which is a spreadsheet, which is
                                              24   Bates labeled Rite_Aid_OMDL_0024600.

                                   Page 223                                              Page 225
                                               1            Let me know when you're done
                                               2   reading Exhibit 13.
                                               3         A. I'm done reading number 13.
                                               4         Q. Have you seen Exhibit 13 before?
                                               5         A. I have.
                                               6         Q. When was the last time you saw
                                               7   that?
                                               8         A. Within the past few days.
                                               9         Q. This is a document that you
                                              10   reviewed in preparing for your 30(b)(6)
                                              11   deposition?
                                              12         A. It is.
                                              13         Q. When do you believe was the first
                                              14   time you saw this document?




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                                                Page 234                  Page 236




                                                Page 235                  Page 237
    1         have been speaking about as far as
    2         replenishment and billing in our current
    3         system. And this would enhance the
    4         system.
    5   BY MR. PIFKO:
    6         Q. It says that -- where it says,
    7   "Today blanket thresholds are manually enforced
    8   at 5,000 dosage units per individual ndc per week
    9   per store regardless of dispensing volume or
   10   trends."
   11             Do you see that?
   12         A. Yes.
   13         Q. Is that an accurate statement
   14   about the system as of when this was written, in
   15   August 7, 2013?
   16             MS. McENROE: Objection to form.
   17             THE WITNESS: Yes. Blanket
   18         controls were in place of 5,000 dosage
   19         units per store.
   20   BY MR. PIFKO:
   21         Q. Regardless of dispensing volume
   22   or trends. Correct?
   23             MS. McENROE: Objection to form.
   24             THE WITNESS: Correct.

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                                     Page 246                                       Page 248
                                                 1              - - -
                                                 2          (A recess was taken from
                                                 3      3:23 p.m. to 3:46 p.m.)
                                                 4              - - -
                                                 5          THE VIDEOGRAPHER: Back on the
                                                 6      record. The time is 3:46 p.m.
                                                 7   BY MR. PIFKO:
                                                 8      Q. Let's go back to Exhibit 12.
                                                 9          Do you have it in front of you?
                                                10      A. I've got it. Thank you.




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   21        MR. PIFKO: We can take a break.
   22        MS. McENROE: Thank you.
   23        THE VIDEOGRAPHER: Going off the
   24    record at 3:23 p.m.

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   22   BY MR. PIFKO:
   23       Q. I want to hand you -- or refer
   24   you back to an exhibit that was introduced
                                               Page 255                   Page 257
    1   yesterday as Exhibit 15.
    2             MS. McENROE: Why don't we make a
    3        pile of today's separate a little bit, so
    4        that we -- is that okay, Mark? I just
    5        don't want to --
    6             MR. PIFKO: Well, I'm still
    7        looking at those.
    8             MS. McENROE: Oh, you're still
    9        looking at these? Okay.
   10             MR. PIFKO: Yes.
   11             MS. McENROE: Okay. Then don't
   12        put those away.
   13             MR. PIFKO: I just -- I want to
   14        direct you to what was marked yesterday
   15        as Exhibit 15.
   16             MS. McENROE: 1-5?
   17             MR. PIFKO: Yeah.
   18   BY MR. PIFKO:
   19        Q. Have you got that in front of
   20   you?
   21        A. I do.
   22        Q. Okay. Do you recall this
   23   document?
   24        A. I do.

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                                                                           Review
                                                Page 274                                                Page 276
    1             MR. PIFKO: All right. Subject              1   quantity.
    2        to any direct examination your counsel
    3        may have, I don't have any other
    4        questions at this time.
    5             MS. McENROE: Thanks. Let's take
    6        a quick break and then we'll be back.
    7             MR. PIFKO: Going off the record
    8        at 4:17 p.m.
    9                 - - -
   10             (A recess was taken from
   11        4:17 p.m. to 4:42 p.m.)
   12                 - - -
   13             THE VIDEOGRAPHER: We're back on
   14        the record at 4:42 p.m.
   15                 - - -                                 15        A. I do.
   16               EXAMINATION                             16        Q. And then you were asked some
   17                 - - -                                 17   questions about a meeting you had with others at
   18   BY MS. McENROE:                                     18   Rite Aid regarding Rite Aid's suspicious order
   19        Q. Good afternoon, Ms. Hart. You               19   monitoring program.
   20   understand my name is Elisa McEnroe. I'm counsel    20            Do you remember those questions?
   21   for Rite Aid in this matter?                        21        A. Yes.
   22        A. I do.                                       22        Q. I'm going to mark Exhibit 14.
   23        Q. I have a couple questions for               23                - - -
   24   you.                                                24            (Deposition Exhibit No.
                                                Page 275                                                Page 277
    1             Do you remember earlier today you          1      Hart-30(b)(6)-14, Handwritten notes,
    2   were asked some questions about the auto             2      11/23/10, Bates stamped
    3   replenishment system?                                3      Rite_Aid_OMDL_0046066, was marked for
    4        A. I do.                                        4      identification.)
    5        Q. And you were asked some questions            5               - - -
    6   specifically about the concept of a manual           6   BY MS. McENROE:
    7   override to that system?                             7      Q. Do you recognize this document?
    8        A. Yes.                                         8      A. I do.
    9        Q. And you testified that there was             9      Q. What is this document?
   10   a 99-bottle block to manual overrides in that
   11   system.
   12             Do you remember that?
   13        A. I do.
   14             MR. PIFKO: Objection, leading.
   15   BY MS. McENROE:
   16        Q. Are there any other blocks in the
   17   manual override process of the auto replenishment
   18   system?
   19        A. There are -- there is a block.
   20   The algorithm takes the on-hand quantity, looks
   21


                                                            23                  - - -
                                                            24               (Deposition Exhibit No.

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                                                 Page 278                                              Page 280
    1       Hart-30(b)(6)-15, PowerPoint slides,
    2       Bates stamped Rite_Aid_OMDL_0046067
    3       through Rite_Aid_OMDL_0046072, was marked
    4       for identification.)
    5               - - -
    6   BY MS. McENROE:
    7       Q. I hand you what I've marked as
    8   Exhibit 15.
    9            Do you recognize this document?
   10       A. I do.
   11       Q. What is it?




                                                            22              - - -
                                                            23           (Deposition Exhibit No.
                                                            24       Hart-30(b)(6)-17, Handwritten notes,
                                                Page 279                                               Page 281
                                                             1        12/14/10, Bates stamped
                                                             2        Rite_Aid_OMDL_0046065, was marked for
    3               - - -                                    3        identification.)
    4          (Deposition Exhibit No.                       4                 - - -
    5      Hart-30(b)(6)-16, Email dated 2010-12-10,         5            (Phone interruption.)
    6      Bates stamped Rite_Aid_OMDL_0020381 and           6                 - - -
    7      Rite_Aid_OMDL_0020381, was marked for             7   BY MS. McENROE:
    8      identification.)                                  8        Q. Wait until the phone stops
    9               - - -                                    9   ringing. Hold on one second.
   10   BY MS. McENROE:                                     10            Ms. Hart, I handed you what's
                                                            11   been marked as Exhibit Number 17.
                                                            12        A. Yes.
                                                            13        Q. Do you recognize this document?




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    5               - - -
    6          (Deposition Exhibit No.
    7      Hart-30(b)(6)-18, Email dated 2011-01-21,
    8      Bates stamped Rite_Aid_OMDL_0020541 and      8            MS. McENROE: I have no further
    9      Rite_Aid_OMDL_0020542, was marked for        9        questions. Thank you.
   10      identification.)                            10            MR. PIFKO: I don't think we have
   11               - - -                              11        questions, but let me just look at the
   12   BY MS. McENROE:                                12        documents real quick.
   13      Q. I'm going to hand you what I have        13            MS. McENROE: Let's go off the
                                                       14        record real quick.
                                                       15            THE VIDEOGRAPHER: Going off the
                                                       16        record, 4:50 p.m.
                                                       17                - - -
                                                       18            (A recess was taken from 4:50
                                                       19        p.m. to 4:51 p.m.)
                                                       20                - - -
                                                       21            THE VIDEOGRAPHER: Back on the
                                                       22        record at 4:51 p.m.
                                                       23
                                                       24

                                           Page 283                                                     Page 285
                                                        1                - - -
                                                        2               EXAMINATION
                                                        3                - - -
                                                        4   BY MR. PIFKO:
                                                        5        Q. I want to direct your attention
                                                        6   to Exhibit 15 that your counsel just introduced
                                                        7   to you.
                                                        8            For the record, it's a multi-page
                                                        9   document, Bates labeled Rite_Aid_OMDL_004607
                                                       10   through 46072.
                                                       11            Can you tell me what this is?




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                                   Page 286                                             Page 288




                                              20       MR. PIFKO: Okay. No further
                                              21   questions.
                                              22       MS. McENROE: Thank you. That
                                              23   concludes the 30(b)(6) deposition of Ms.
                                              24   Hart.

                                   Page 287                                             Page 289
                                               1       THE VIDEOGRAPHER: Going off the
                                               2   record. The time is 4:55 p.m.
                                               3       (Witness excused.)
                                               4       (Deposition concluded at
                                               5   approximately 4:55 p.m.)
                                               6
                                               7
                                               8
                                               9
                                              10
                                              11
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                                                                           Review
                                                    Page 290                                                        Page 292
    1                                                           1             - - - - - -
    2              CERTIFICATE                                                 ERRATA
    3
                                                                2             - - - - - -
    4
                                                                3
    5           I HEREBY CERTIFY that the witness
      was duly sworn by me and that the deposition is a         4 PAGE LINE CHANGE
    6 true record of the testimony given by the                 5 ____ ____ _____________________________________
      witness.                                                  6     REASON: _____________________________________
    7
                It was requested before                7            ____ ____ _____________________________________
    8 completion of the deposition that the witness,   8              REASON: _____________________________________
      JANET GETZEY HART, have the opportunity to read 9             ____ ____ _____________________________________
    9 and sign the deposition transcript.
                                                      10              REASON: _____________________________________
   10
   11                                                          11   ____ ____ _____________________________________
   12                                                          12     REASON: _____________________________________
   13                                                          13   ____ ____ _____________________________________
            __________________________________                 14     REASON: _____________________________________
   14       ANN MARIE MITCHELL, a Federally
                                                               15   ____ ____ _____________________________________
            Approved Certified Realtime
   15       Reporter, Registered Diplomate                     16     REASON: _____________________________________
            Reporter, Registered Merit Reporter and            17   ____ ____ _____________________________________
   16       Notary Public                                      18     REASON: _____________________________________
   17
   18
                                                               19   ____ ____ _____________________________________
   19             (The foregoing certification of              20     REASON: _____________________________________
   20   this transcript does not apply to any                  21   ____ ____ _____________________________________
   21   reproduction of the same by any means, unless          22     REASON: _____________________________________
   22   under the direct control and/or supervision of         23   ____ ____ _____________________________________
   23   the certifying reporter.)
   24                                                          24     REASON: _____________________________________

                                                    Page 291                                                        Page 293
    1           INSTRUCTIONS TO WITNESS                         1
    2                                                           2         ACKNOWLEDGMENT OF DEPONENT
                                                                3
    3             Please read your deposition over
                                                                4           I,_____________________, do
    4   carefully and make any necessary corrections.
                                                                5 hereby certify that I have read the foregoing
    5   You should state the reason in the appropriate
                                                                6 pages, 1 - 293, and that the same is a correct
    6   space on the errata sheet for any corrections           7 transcription of the answers given by me to the
    7   that are made.                                          8 questions therein propounded, except for the
    8             After doing so, please sign the               9 corrections or changes in form or substance, if
    9   errata sheet and date it.                              10 any, noted in the attached Errata Sheet.
   10             You are signing same subject to              11
   11   the changes you have noted on the errata sheet,        12
   12   which will be attached to your deposition.             13 ________________________________________________
   13             It is imperative that you return             14 JANET GETZEY HART                     DATE
   14   the original errata sheet to the deposing              15
                                                               16
   15   attorney within thirty (30) days of receipt of
                                                               17 Subscribed and sworn
   16   the deposition transcript by you. If you fail to
                                                                  to before me this
   17   do so, the deposition transcript may be deemed to
                                                               18 _____ day of ______________, 20____.
   18   be accurate and may be used in court.                  19 My commission expires:______________
   19
                                                               20
   20
                                                                  ____________________________________
   21
                                                               21 Notary Public
   22                                                          22
   23                                                          23
   24                                                          24


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